                            No. 23-16102
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


                            JUSTIN DOWNING,

                            Plaintiff-Appellant,

                                     v.

                      LOWE’S HOME CENTERS, LLC,

                           Defendant-Appellee.

              On Appeal from the United States District Court
                        for the District of Arizona
                         No. 3:22-cv-08159-SPL
                          Hon. Steven P. Logan


                       EXCERPTS OF RECORD
                           Volume 1 of 1


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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Justin Downing,                                NO. CV-22-08159-PCT-SPL
10                  Plaintiff,
                                                   AMENDED JUDGMENT OF
11   v.
                                                   DISMISSAL IN A CIVIL CASE
12   Lowe's Companies Incorporated, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed July
18   31, 2023, Plaintiff to take nothing, and the complaint and action are dismissed with

19   prejudice as to all claims against Defendant Lowe’s Companies Incorporated.

20                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
21
22   August 2, 2023
                                              s/ Rebecca Kobza
23                                      By    Deputy Clerk
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                                                                                        ER-3
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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Justin Downing,                                NO. CV-22-08159-PCT-SPL
10                   Plaintiff,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   Lowe's Companies Incorporated, et al.,
13                   Defendants.
14
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16   issues have been considered and a decision has been rendered.

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18   31, 2023, Plaintiff to take nothing, and the complaint and action are dismissed with

19   prejudice.

20                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
21
22   July 31, 2023
                                              s/ Rebecca Kobza
23                                       By   Deputy Clerk
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8                                           )       No. CV-22-08159-PCT-SPL
      Justin Downing,
 9                                           )
                                             )
                    Plaintiff,               )       ORDER
10                                           )
      vs.
11                                           )
                                             )
      Lowe’s Companies Incorporated, et al., )
12                                           )
13                  Defendants.              )
                                             )
14                                           )

15          Before the Court is Plaintiff Justin Downing’s (“Plaintiff”) Motion for Certification
16   of Judgment (Doc. 31) in which Plaintiff requests that the Court direct the entry of final
17   judgment with respect to Defendant Lowe’s Companies Incorporated (“Lowe’s”), pursuant
18   to Federal Rule of Civil Procedure 54(b). The Motion is fully briefed and ready for review.
19   (Docs. 31, 32, & 33). The Court rules as follows.1
20          On June 20, 2023, the Court granted Lowe’s’ motion to dismiss and dismissed the
21   company from this action with prejudice. (Doc. 29). The Court found that, as a matter of
22   law, Lowe’s did not violate 15 U.S.C. § 1681b(b)(2)(A) of the Fair Credit Reporting Act
23   (“FCRA”). (Id. at 14). This action was not dismissed entirely, however, as Plaintiff’s two
24   separate claims against Defendant First Advantage Corporation (“First Advantage”)
25   remain. (See Doc. 28 (June 8, 2023 Order denying First Advantage’s motion to dismiss)).
26
            1
27            Because it would not assist in resolution of the instant issues, the Court finds the
     pending Motion suitable for decision without oral argument. See LRCiv. 7.2(f); Fed. R.
28   Civ. P. 78(b); Partridge v. Reich, 141 F.3d 920, 926 (9th Cir. 1998).



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 1   Plaintiff seeks to appeal this Court’s June 20, 2023 Order dismissing his claims against
 2   Lowe’s. (Doc. 31 at 2). He now seeks entry of final judgment pursuant to Rule 54(b).
 3          Rule 54(b) provides that where, as here, an action involves multiple claims or
 4   parties,
 5                 the court may direct entry of a final judgment as to one or more,
                   but fewer than all, claims or parties only if the court expressly
 6                 determines that there is no just reason for delay.
 7                 Otherwise, any order or other decision, however designated,
                   that adjudicates fewer than all the claims or the rights and
 8                 liabilities of fewer than all the parties does not end the action
                   as to any of the claims or parties and may be revised at any
 9                 time before the entry of a judgment adjudicating all the claims
                   and all the parties' rights and liabilities.
10
11   Fed. R. Civ. P. 54(b) (emphasis added). “The Rule was adopted ‘specifically to avoid the
12   possible injustice of delaying judgment on a distinctly separate claim pending adjudication
13   of the entire case.” Krause v. Yavapai Cnty., No. CV 19-08054-PCT-MTL (ESW), 2020
14   WL 4530467, at *1 (D. Ariz. Aug. 6, 2020) (alterations omitted) (quoting Jewel v. Nat’l
15   Sec. Agency, 810 F.3d 622, 628 (9th Cir. 2015)). “The Rule thus aimed to augment, not
16   diminish, appeal opportunity.” Id. (quoting Jewel, 810 F.3d at 628). “It is left to the sound
17   judicial discretion of the district court to determine the appropriate time when each final
18   decision in a multiple claims action is ready for appeal.” Id. (internal quotation marks
19   omitted) (quoting Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980)). “In
20   making this determination, it is proper for courts to consider ‘whether the claims under
21   review were separable from the others remaining to be adjudicated and whether the nature
22   of the claims already determined was such that no appellate court would have to decide the
23   same issues more than once even if there were subsequent appeals.’” Id. (quoting Curtiss-
24   Wright Corp., 446 U.S. at 8).
25          The Court may only exercise its discretion to enter a Rule 54(b) final judgment if it
26   first “render[s] an ultimate disposition of an individual claim” and then “find[s] that there
27   is no just reason for delaying judgment on this claim.” Pakootas v. Teck Cominco Metals,
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 1   Ltd., 905 F.3d 565, 574 (9th Cir. 2018). “The burden is on the party endeavoring to obtain
 2   Rule 54(b) certification to demonstrate that the case warrants certification.” First
 3   Amendment Coal. of Ariz., Inc. v. Ryan, No. CV-14-01447-PHX-NVW, 2016 WL
 4   4236373, at *1 (D. Ariz. Aug. 10, 2016). Courts must consider two prongs when
 5   determining whether there is just reason for delaying entry of judgment. Jewel, 810 F.3d
 6   at 628. First, the court must analyze “juridical concerns,” including “whether the certified
 7   order is sufficiently divisible from the other claims such that the case would not inevitably
 8   come back to [the Court of Appeals] on the same set of facts.” Id. Second, courts conduct
 9   an “equitable analysis” in which they “focus on traditional equitable principles such as
10   prejudice and delay.” Gregorian v. Izvestia, 871 F.2d 1515, 1519 (9th Cir. 1989). The
11   parties agree that the Court’s June 20, 2023 Order constituted an “ultimate disposition” of
12   Plaintiff’s claims against Lowe’s. (See Doc. 32 at 5, n.1 (Lowe’s conceding that “there has
13   been an ‘ultimate disposition’ of the claims against it”)). Thus, the Court need only
14   consider whether juridical concerns and equitable principles demonstrate that there is no
15   just reason for delaying judgment on Plaintiff’s two FCRA claims against Lowe’s.
16          With respect to juridical concerns, the Court agrees with Plaintiff that the claims
17   against Lowe’s rest on entirely independent legal theories and facts as compared to the
18   still-pending claims against First Advantage. In fact, Lowe’s itself concedes this,
19   recognizing that the issues presented by the claims against Lowe’s are “largely distinct”
20   from those presented by the claims against First Advantage, and that “the overwhelming
21   likelihood is that any appeal [on the Lowe’s claims] would have little bearing on the
22   remaining claims [against First Advantage].” (Doc. 32 at 6). Thus, the Court finds that this
23   is not the sort of case where the “legal right to relief stems largely from the same set of
24   facts and would give rise to successive appeals that would turn largely on identical, and
25   interrelated, facts.” Wood v. GCC Bend, LLC, 422 F.3d 873, 880 (9th Cir. 2005).
26          As to equitable considerations, the Court also agrees with Plaintiff that—because
27   this Court has already rendered an ultimate disposition as to his claims against Lowe’s—
28   denying Plaintiff the opportunity to appeal now would mean that his claims against Lowe’s


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 1   would merely “stagnate” until Plaintiff’s claims against First Advantage are resolved and
 2   final judgment is entered. (See Doc. 31 at 5). Given that this case was filed in September
 3   2022, is only just beyond the motion-to-dismiss stage, and involves potential class
 4   certification issues, this delay could be substantial. Plaintiff contends that a lengthy delay
 5   would “prejudice both parties in the form of unavailability of witnesses, the potential loss
 6   of pertinent records, and faded memories.” (Doc. 31 at 6). Lowe’s responds that Plaintiff’s
 7   assertion of harm “is a generic argument that would apply in virtually every situation in
 8   which a portion of the case is dismissed and others proceed.” (Doc. 32 at 7). Lowe’s also
 9   points out that there is no risk of severe financial harm. (Id.). The Court agrees with Lowe’s
10   that Plaintiff’s assertions of potential harm are not novel to a situation such as this.
11   Moreover, the harms are speculative, as Plaintiff fails to offer any specific details
12   explaining how or why the unavailability of witnesses or the loss of certain records is likely
13   to occur. Nonetheless, the Court finds that the equities weigh in favor of granting Plaintiff’s
14   Motion. The Court is not aware of any harm that will be caused to Lowe’s by allowing
15   Plaintiff to appeal this Court’s dismissal of the Lowe’s claims, particularly given that those
16   claims are entirely distinct and independent from the First Advantage claims. This total
17   lack of harm is outweighed by the harm put forth by Plaintiff, despite Plaintiff’s harm being
18   somewhat speculative. At the least, a significant delay could occur. In turn, that delay could
19   cause a host of other issues for both parties.
20             In sum, the Court finds that there is no just reason for delay. There is almost no risk
21   that granting Plaintiff’s Rule 54(b) request will cause duplicate proceedings before the
22   Ninth Circuit because the Lowe’s claims are wholly and definitively separate from the First
23   Advantage claims. Further, in the absence of a Rule 54(b) judgment, there is a reasonable
24   chance that a significant delay will occur with respect to final resolution of the Lowe’s
25   claims. This chance for a delay (and the possible issues that may occur because of it)
26   outweighs any potential harm to Lowe’s.
27   ///
28   ///


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 1         Accordingly,
 2         IT IS ORDERED that Plaintiff’s Motion for Certification of Judgment (Doc. 31)
 3   is granted. The Clerk of Court is directed to enter a final judgment dismissing with
 4   prejudice all claims against Defendant Lowe’s Companies Incorporated pursuant to
 5   Federal Rule of Civil Procedure 54(b).
 6         Dated this 31st day of July, 2023.
 7
 8                                                  Honorable Steven P. Logan
                                                    United States District Judge
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                           )       No. CV-22-08159-PCT-SPL
      Justin Downing,
 9                                           )
                                             )
                    Plaintiff,               )       ORDER
10                                           )
      vs.
11                                           )
                                             )
      Lowe’s Companies Incorporated, et al., )
12                                           )
13                  Defendants.              )
                                             )
14                                           )

15           Before the Court is Defendant Lowe’s Companies Incorporated’s (“Lowe’s” or
16   “Defendant”) Motion to Dismiss (Doc. 18). Defendant requests dismissal of Counts I and
17   II of Plaintiff Justin Downing’s (“Plaintiff”) Amended Complaint (Doc. 11). Defendant’s
18   Motion has been fully briefed and is ready for review. (Docs. 18, 23, & 24). For the
19   following reasons, the Motion is granted.1
20      I.       BACKGROUND
21           In February 2022, Plaintiff applied for a job with Lowe’s. (Doc. 11 at 5). As part of
22   the hiring process, Plaintiff was provided with several acknowledgments of company
23   disclosures, including the following disclosure regarding a background report:
24                  DISCLOSURE REGARDING BACKGROUND REPORT
25                  Lowe’s . . . may obtain a “background report” about you or
                    your child/ward for employment purposes from a third-party
26
             1
27            Because it would not assist in resolution of the instant issues, the Court finds the
     pending Motion suitable for decision without oral argument. See LRCiv. 7.2(f); Fed. R.
28   Civ. P. 78(b); Partridge v. Reich, 141 F.3d 920, 926 (9th Cir. 1998).



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                   consumer reporting agency. “Background report” means any
 1                 written, oral, or other communication of any information by a
                   consumer reporting agency bearing on your or your
 2                 child’s/ward’s credit worthiness, credit standing, credit
                   capacity,     character,    general     reputation,  personal
 3                 characteristics, or mode of living. The reports may include
                   information regarding your or your child’s/ward’s history,
 4                 criminal history, social security verification, motor vehicle
                   records, verification of your education or employment history,
 5                 or other background check results.
 6                 Lowe’s will not request any information related to your or your
 7                 child's/ward's worthiness, credit standing, or credit capacity
                   without providing you or your child/ward, separately, with
 8                 information related to the use of that information and obtaining
                   separate authorization from you to obtain such information,
 9                 where required.
10   (the “Disclosure”) (Doc. 13 at 2–3). On February 26, 2022, Plaintiff indicated his
11   acknowledgment of the Disclosure by signing it. (Id.). Thereafter, Lowe’s contracted with
12
     First   Advantage    Corporation    (“First   Advantage”    or,   together   with   Lowe’s,
13   “Defendants”)—a consumer reporting agency (“CRA”) that provides, among other things,
14   “background screening services to employers nationwide”—to compile and furnish the
15
     background report. (Doc. 11 at 5, 7).
16           Between February 26 and March 2, 2022, First Advantage “commenced a search
17   for Plaintiff’s past criminal history to be included in his consumer report.” (Id.). On March
18   2, 2022, First Advantage provided a completed background report to Lowe’s. (Id.). On
19   March 10, 2022, Lowe’s denied Plaintiff employment “based in whole or in part on
20   information contained within his consumer report.” (Id. at 8–9). Plaintiff alleges that the
21
     background report inaccurately included three past criminal convictions with the
22   disposition stated as “guilty.” (Id. at 7). Although Plaintiff admits to pleading guilty to
23   three criminal charges between 2006 and 2009, he contends that “it is not accurate to state
24   that the disposition of those cases is ‘guilty’” because, on November 24, 2020, the three
25   judgments of guilt were set aside by the Navajo County Superior Court, pursuant to
26   A.R.S. § 13-905. (Id. at 7–8).
27   ///
28

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                                                                                            ER-11
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 1          On September 8, 2022, Plaintiff filed this action against Defendants Lowe’s and
 2   First Advantage.2 (See Doc. 1). Plaintiff filed it as a class action suit, asserting his claims
 3   on behalf of himself and all those similarly situated. (Doc. 11 at 9). The Amended
 4   Complaint defines two separate classes—the “Lowe’s Class” and the “First Advantage
 5   Class.” (Id.). The Lowe’s Class is defined as:
 6                 All persons in the United States who (1) from a date two years
                   prior to the filing of the initial complaint in this action to the
 7                 date notice is sent to the Class; (2) applied for employment
                   with Lowe’s; (3) about whom Lowe’s procured a consumer
 8                 report; and (4) who were provided the same form FCRA
                   disclosure and authorization as the disclosure and authorization
 9                 form Lowe’s provided to Plaintiff.
10
     (Id.).3 Plaintiff alleges that Defendants’ actions—relating to the disclosure, procurement,
11
     compiling, and furnishing of the background report upon which his denial of employment
12
     was based—violated the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq.
13
     (Id. at 1–4). In Count I, Plaintiff and the Lowe’s Class assert a claim against Lowe’s for
14
     violation of the FCRA’s “standalone” disclosure requirement, which is found in
15
     § 1681b(b)(2)(A). (Id. at 12–15). In Count II, Plaintiff and the Lowe’s Class assert a claim
16
     against Lowe’s for violation of the FCRA’s “clear and conspicuous” disclosure
17
     requirement, which is also found in § 1681b(b)(2)(A).4 (Id. at 15–18). On November 10,
18
     2022, Defendant Lowe’s filed the present Motion seeking dismissal with prejudice of
19
20          2
             On October 27, 2022, Plaintiff filed the Amended Complaint (Doc. 11), which
21   remains the operative complaint in this matter.
22          3
              The First Advantage Class is defined as: “All persons in the United States (1) from
23   a date two years prior to the filing of the initial complaint in this action to the date notice
     is sent to the Class; (2) about whom First Advantage provided a consumer report; (3) to
24
     any employer or potential employer; (4) where the consumer report contained a criminal
25   disposition of “guilty”; and (5) where the consumer’s conviction had been set aside
     pursuant to A.R.S. § 13-905.” (Doc. 11 at 9).
26
            4
27           In Counts III and IV, Plaintiff and the First Advantage Class assert claims against
     First Advantage for violation of §§ 1681e(b) and 1681k(a), provisions concerning the
28   procedures that a CRA must follow when preparing a consumer report. (Doc. 11 at 18–25).

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 1   Counts I and II. (Doc. 18). Plaintiff later filed a Response. (Doc. 23). Defendant has since
 2   filed a Reply brief (Doc. 24), along with two separate Notices of Supplemental Authority
 3   (Docs. 26 & 27). The Court has fully considered the parties’ briefing, Defendant’s Notices
 4   of Supplemental Authority, and the entire record in this matter.
 5      II.      LEGAL STANDARDS
 6            A. Rule 12(b)(6) Standard
 7            To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient
 8   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
 9   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
10   544, 570 (2007)). A court may dismiss a complaint for failure to state a claim under Rule
11   12(b)(6) for two reasons: (1) lack of a cognizable legal theory, or (2) insufficient facts
12   alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,
13   699 (9th Cir. 1990). A claim is facially plausible when it contains “factual content that
14   allows the court to draw the reasonable inference” that the moving party is liable. Ashcroft,
15   556 U.S. at 678. Factual allegations in the complaint should be assumed true, and a court
16   should then “determine whether they plausibly give rise to an entitlement to relief.” Id. at
17   679. Facts should be viewed “in the light most favorable to the non-moving party.”
18   Faulkner v. ADT Sec. Servs., Inc., 706 F.3d 1017, 1019 (9th Cir. 2013).
19            B. FCRA Overview
20            “Congress enacted [the] FCRA in 1970 to ensure fair and accurate credit reporting,
21   promote efficiency in the banking system, and protect consumer privacy.” Safeco Ins. Co.
22   of Am. v. Burr, 551 U.S. 47, 52 (2007). In pursuing these goals, the FCRA “regulates the
23   creation and the use of consumer reports by [CRAs] for certain specified purposes,
24   including    credit   transactions,   insurance,   licensing,   consumer-initiated   business
25   transactions, and employment.” Spokeo, Inc. v. Robins, 578 U.S. 330, 334–35 (2016)
26   (citations omitted) (internal quotations omitted). “[T]he statute imposes . . . a panoply of
27   procedural obligations and creates a private right of action for consumers to enforce
28   compliance.” Gomez v. EOS CCA, No. CV-18-02740-PHX-JAT (DMF), 2020 WL


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 1   3271749, at *2 (D. Ariz. June 17, 2020) (citing Robins v. Spokeo, Inc., 867 F.3d 1108,
 2   1113–14 (9th Cir. 2017)). Specifically relevant to the instant Motion is § 1681b, the
 3   provision under which Plaintiff asserts two claims against Lowe’s. (See Doc. 11 at 12–18).
 4   Section 1681b “covers permissible purposes for consumer reports,” and subsection (b)
 5   “relates to consumer reports for employment purposes.” Juster v. Workday, Inc., 617 F.
 6   Supp. 3d 1128, 1134 (N.D. Cal. 2022). Section 1681b(b)(2)(A) provides as follows:
 7                 [A] person may not procure a consumer report, or cause a
                   consumer report to be procured, for employment purposes with
 8                 respect to any consumer, unless . . . a clear and conspicuous
                   disclosure has been made in writing to the consumer at any
 9                 time before the report is procured or caused to be procured, in
                   a document that consists solely of the disclosure, that a
10                 consumer report may be obtained for employment purposes.
11
     § 1681b(b)(2)(A)(i) (emphasis added). “The question of whether a disclosure is ‘clear and
12
     conspicuous’ within the meaning of [§] 1681b(b)(2)(A)(i) is separate from the question of
13
     whether a document consists ‘solely’ of a disclosure.” Syed v. M-I, LLC, 853 F.3d 492, 503
14
     (9th Cir. 2017).
15
        III.   DISCUSSION
16
            Plaintiff in this case alleges that the Lowe’s Disclosure violated § 1681b(b)(2)(A)(i).
17
     (Doc. 11 at 18–25). Plaintiff contends that the Disclosure contains (i) extraneous language
18
     relating to background checks of children or wards and (ii) a confusing, conflicting
19
     explanation as to future disclosures related to credit information. (Doc. 23 at 7). Plaintiff
20
     argues that, as a result, the Disclosure did not consist solely of the disclosure, and was not
21
     clear and conspicuous, in violation of the FCRA. (Id.). In its Motion, Defendant requests
22
     that this Court dismiss both of Plaintiff’s claims against Lowe’s for failure to state a claim.
23
     (Doc. 18 at 6). Defendant argues that the Disclosure satisfied the standalone requirement
24
     because it did not contain any extraneous information. (Id. at 9–13). Likewise, Defendant
25
     argues that the Disclosure satisfied the clear and conspicuous requirement because it was
26
     readily noticeable and reasonably understandable to the consumer. (Id. at 13–15).
27
     Defendant alternatively argues that, even if Plaintiff could establish that the Lowe’s
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 1   Disclosure violated the substantive requirements of § 1681b, Plaintiff’s claims must be
 2   dismissed nonetheless because he failed to plausibly allege that Lowe’s willfully or
 3   negligently violated the statute. (Id. at 15–22).
 4          As explained below, the Court finds that the Disclosure in this case complied with
 5   the standalone requirement and was clear and conspicuous. Questions concerning whether
 6   a particular disclosure meets the requirements § 1681b(b)(2)(A) are questions of law
 7   properly decided by the Court at this motion-to-dismiss stage. See Wynn v. United Parcel
 8   Serv., Inc., No. 21-cv-10029-CRB, 2023 WL 2324288, at *4, n.1 (N.D. Cal. Mar. 1, 2023)
 9   (citation omitted) (rejecting plaintiff’s argument that the court was required to assume as
10   true plaintiff’s allegation that disclosure was not clear and conspicuous and did not comply
11   with standalone requirement because such “statements are legal conclusions, which the
12   Court is ‘not bound to accept as true’”); Mitchell v. Winco Foods, LLC, 379 F. Supp. 3d
13   1093, 1099 (D. Idaho 2019) (alterations omitted) (quoting Gilberg, 913 F.3d at 1177))
14   (“The Ninth Circuit . . . has ‘assumed, without deciding, that clarity and conspicuousness
15   under FCRA present questions of law rather than fact.’”). Because the Court finds that the
16   Disclosure in this case meets the FCRA requirements, dismissal of Plaintiff’s claims is
17   appropriate. The Court need not reach Defendant’s arguments with respect to whether
18   Plaintiff sufficiently alleged willfulness or negligence because the Court finds that, as a
19   matter of law, the Disclosure in this case does not violate the FCRA.
20          A. Alleged Violation of the Standalone Requirement (Count I)
21          Section 1681b(b)(2)(A)’s standalone requirement provides that the disclosure must
22   be made “in a document that consists solely of the disclosure.” § 1681b(b)(2)(A)(i)
23   (emphasis added). The Ninth Circuit has interpreted this to require that the disclosure
24   “contain nothing more than the disclosure itself” and that it “not contain any extraneous
25   information” beyond the disclosure required by the FCRA. Walker v. Fred Meyer, Inc.,
26   953 F.3d 1082, 1087–88 (9th Cir. 2020) (citations and quotations omitted). That said, an
27   employer’s disclosure is not limited to a plain statement that “a consumer report may be
28   obtained for employment purposes.” Id. at 1084. Rather the Ninth Circuit explained that:


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                   [B]eyond a plain statement disclosing “that a consumer report
 1                 may be obtained for employment purposes,” some concise
                   explanation of what that phrase means may be included as part
 2                 of the “disclosure” required by § 1681b(b)(2)(A)(i). For
                   example, a company could briefly describe what a “consumer
 3                 report” entails, how it will be “obtained,” and for which type
                   of “employment purposes” it may be used. Such information
 4                 would further the purpose of the disclosure by helping the
                   consumer understand the disclosure.
 5
 6   Id. at 1088–89 (internal citations omitted) (emphasis added).
 7          The Disclosure at issue contains only four sentences. The question, then, is whether
 8   any of these sentences contains “extraneous information” falling outside the scope of the
 9   FCRA disclosure requirement as interpreted by the Ninth Circuit in cases like Walker. The
10   first sentence states that Lowe’s “may obtain a ‘background report’ about you or your
11   child/ward for employment purposes from a third-party consumer reporting agency.” (Doc.
12   13 at 2). Setting aside its reference to the applicant’s “child/ward”—which is discussed in
13   greater depth below—this sentence merely provides the disclosure envisioned and
14   explicitly required by the FCRA, that is, it provides the disclosure “that a consumer report
15   may be obtained for employment purposes.” § 1681b(b)(2)(A)(i). The Court finds the first
16   sentence does not contain any extraneous information in violation of the FCRA.
17          The second sentence states that “‘[b]ackground report’ means any written, oral, or
18   other communication of any information by a consumer reporting bearing on your or your
19   child’s/ward’s credit worthiness, credit standing, credit capacity, character, general
20   reputation, personal characteristics, or mode of living.” (Doc. 13 at 2). Again setting aside
21   the sentence’s reference to the applicant’s “child/ward” for later discussion, the Court finds
22   that the second sentence does not contain any extraneous information. Rather, the sentence
23   merely explains the type of information that may be included in the background report and,
24   in doing so, borrows directly from the FCRA’s definition of “consumer report.” See
25   § 1681a(d)(1) (defining “consumer report” as “any written, oral, or other communication
26   of any information by a [CRA] bearing on a consumer’s credit worthiness, credit standing,
27   credit capacity, character, general reputation, personal characteristics, or mode of living”);
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 1   see also Walker, 953 F.3d at 1089, n.9 (finding that language explaining “what type of
 2   information may be included in the ‘consumer report’” does not violate standalone
 3   requirement and noting disclosure’s specific language “tracks the language of the FCRA”).
 4          The third sentence states that the report “may include information regarding your or
 5   your child’s/ward’s history, criminal history, social security verification, motor vehicle
 6   records, verification of your education or employment history, or other background check
 7   results.” (Doc. 13 at 2). Again setting aside the sentence’s reference to the applicant’s
 8   “child/ward” for later discussion, the Court finds that the third sentence does not contain
 9   any extraneous information. In Walker, the Ninth Circuit considered a very similar
10   sentence which stated that “[t]o prepare the reports, [the CRA] may investigate your
11   education, work history, professional licenses and credentials, references, address history,
12   social security number validity, right to work, criminal record, lawsuits, driving record and
13   any other information with public or private information sources.” Walker, 953 F.3d at
14   1090. The Ninth Circuit found that this sentence “elucidate[s] what it means to ‘obtain’ a
15   consumer report by providing helpful information about . . . what private and public
16   information about the applicant will be examined to create a ‘consumer report.’” Id. The
17   Ninth Circuit found that the language therefore did not violate the FCRA’s standalone
18   requirement. Id. In accordance with the Walker decision, this Court also finds that the third
19   sentence merely provides additional information as it relates to what private and public
20   information may be examined to create the background report and that the third sentence
21   therefore does not violate the standalone requirement.
22          The final sentence states that “Lowe’s will not request any information related to
23   your or your child’s/ward’s worthiness, credit standing, or credit capacity without
24   providing you or your child/ward, separately, with information related to the use of that
25   information and obtaining separate authorization from you to obtain such information,
26   where required.” (Doc. 13 at 3). Plaintiff argues that this sentence “relate[s] to the potential
27   for an additional disclosure and authorization” and therefore “pulls attention away from
28   the rights at issue by informing applicants that there will be some other form or forms to


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 1   review later.” (Doc. 23 at 9 (emphasis in original)). To be sure, the Ninth Circuit has
 2   consistently recognized as extraneous any information that “pulls the applicant’s attention
 3   away from his privacy rights protected by the FCRA.” Syed v. M-I, LLC, 853 F.3d 492,
 4   502 (9th Cir. 2017); see also Gilberg, 913 F.3d at 1175–76; Walker, 953 F.3d at 1090–91.
 5   The caselaw cited by the parties provides examples of such attention-diverting information.
 6   In Syed, the disclosure contained a liability waiver stating, “I hereby discharge, release and
 7   indemnify prospective employer . . . from any and all liability and claims arising by reason
 8   of the use of this release and dissemination of information that is false and untrue if
 9   obtained by a third party without verification.” Syed, 853 F.3d at 497–98. The Ninth Circuit
10   found that the inclusion of the liability waiver violated the standalone requirement because
11   instead of “focus[ing] the applicant’s attention on the nature of the personal information
12   the prospective employer may obtain,” it called the applicant’s “attention to the rights he
13   must forego if he signs the document.” Id. at 502. The Ninth Circuit explained that, in
14   reading the disclosure, an applicant “could reasonably conclude that his signature was not
15   consent to the procurement of the consumer report, but to a broad release of the employer
16   from claims arising from the totality of the ‘investigative background inquiries’ referenced
17   in the first sentence of the form.” Id.
18          Likewise, in Gilberg and Walker, the disclosures contained language relating to
19   non-FCRA rights held by the applicant. Specifically, in Gilberg, the disclosure stated, in
20   part, that “[y]ou have the right, upon written request made within a reasonable time after
21   receipt of this notice, to request whether a consumer report has been run about you, and the
22   nature and scope of any investigative consumer report, and request a copy of your report.”
23   Gilberg, 913 F.3d at 1172. Similarly, the Walker disclosure provided that
24                 You may inspect [the CRA]’s files about you . . . by providing
                   identification to the [CRA]. If you do, [the CRA] will provide
25                 you help to understand the files, including communication with
                   trained personnel and an explanation of any codes. Another
26                 person may accompany you by providing identification. If [the
                   CRA] obtains any information by interview, you have the right
27                 to obtain a complete and accurate disclosure of the scope and
                   nature of the investigation performed.
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 1   Walker, 953 F.3d at 1090. In both cases, the Ninth Circuit found that the language
 2   concerning the applicant’s other rights violated the standalone requirement. The Ninth
 3   Circuit reasoned that such language was “as likely to confuse as it is to inform” because it
 4   concerned rights outside the scope of the FCRA. Gilberg, 913 F.3d at 1175–76. The Ninth
 5   Circuit noted that it understood why the employers sought, “in good faith,” to provide such
 6   information to applicants but that the language “should have been provided in a separate
 7   document, because the information cannot reasonably be deemed part of a ‘disclosure . . .
 8   that a consumer report will be obtained for employment purposes.’” Walker, 953 F.3d at
 9   1090–91 (quoting § 1681b(b)(2)(A)(i)).
10          Unlike the liability waiver in Syed and the language referencing the applicant’s non-
11   FCRA rights in Gilberg and Walker, the final sentence in the Lowe’s Disclosure does not
12   divert the applicant’s attention away from his or her rights under the FCRA. Rather, the
13   Court finds that the sentence—which explains that certain credit-related information will
14   only be obtained if a separate authorization is signed—is merely part of the Disclosure’s
15   “concise explanation” of what it means for Lowe’s to obtain a consumer report. See
16   Walker, 953 F.3d at 1088–89. This is similar to a sentence analyzed in Warr, a case relied
17   upon by Defendant. In Warr, the disclosure stated that the applicant’s “[c]redit history
18   [would] only be requested where such information [was] substantially related to the duties
19   and responsibilities of the position for which [the applicant was] applying.” Warr v. Cent.
20   Garden & Pet Co., No. 20-cv-09405-JST, 2021 WL 6275013, at *5 (N.D. Cal. Sept. 21,
21   2021). The Northern District of California rejected the plaintiff’s argument that such a
22   phrase was extraneous, reasoning that the phrase appropriately “describ[ed] what a
23   ‘consumer report’ entails” and nothing more. Id. at *6 (citing Walker, 953 F.3d at 1088–
24   89). In a similar manner, the final sentence in the Lowe’s Disclosure reasonably describes
25   “what a ‘consumer report’ entails” and “how it will be ‘obtained,’” see Walker, 953 F.3d
26   at 1084, by explaining that a specific category of information—that is, information related
27   to the applicant’s worthiness, credit standing, or credit capacity—would not be requested
28   by Lowe’s unless the applicant signed a separate authorization. For purposes of the


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 1   standalone-requirement analysis, the Court sees no meaningful difference between
 2   reasonably informing the applicant that credit-related information must be “substantially
 3   related” to the employment position before such information will be obtained, and
 4   informing the applicant that a separate authorization will be provided to the applicant
 5   before credit-related information will be obtained. In both cases, the disclosures are simply
 6   informing the applicant that a specific category of information will not be part of the
 7   consumer report unless some additional condition is satisfied. The Court finds that the final
 8   sentence of the Lowe’s Disclosure does not violate the standalone requirement.
 9          Finally, Plaintiff argues that the Disclosure’s inclusion of “extra language
10   purporting to allow First Advantage to pull reports for either the applicant ‘or [their]
11   child/ward’” renders the entire Disclosure to be in violation of the standalone requirement.
12   (Doc. 23 at 9). Plaintiff explains that this language makes the Disclosure “not one,
13   standalone disclosure, but a joint disclosure for multiple people” and that it “functions to
14   pull the applicant’s attention away.” (Id. at 9–10). The Court is unpersuaded. This language
15   merely informs the applicant of whose information might be obtained as part of the
16   background report, which falls squarely within the scope of “describ[ing] what a ‘consumer
17   report’ entails.” Walker, 953 F.3d at 1084.
18          In sum, the Court finds that the Lowe’s Disclosure did not contain any extraneous
19   information and that, as a matter of law, it does not violate the standalone requirement. The
20   Court concludes that dismissal of Count I with prejudice is appropriate.
21          B. Alleged Violation of the Clear and Conspicuous Requirement (Count II)
22          As noted above, § 1681b(b)(2)(A) requires that the disclosure be “clear and
23   conspicuous.” § 1681b(b)(2)(A)(i). The Ninth Circuit has interpreted “clear” to mean
24   “reasonably understandable,” and “conspicuous” to mean “readily noticeable to the
25   consumer.” Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169, 1176 (9th Cir.
26   2019) (citations and quotations omitted). “The Ninth Circuit has analyzed each prong
27   separately.” Mitchell, 379 F. Supp. 3d at 1099 (citing Gilberg, 913 F.3d at 1177)).
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 1          Here, Plaintiff alleges that the Disclosure was unclear for two reasons.5 First, he
 2   contends that the Disclosure “confusingly informs applicants that Lowe’s may obtain
 3   consumer reports regarding the applicant ‘or their child/ward,’ with no explanation.” (Doc.
 4   23 at 11 (alteration omitted)). Second, he contends that the Disclosure was unclear because
 5   it indicated that Lowe’s would not seek credit-related information without a separate
 6   authorization from the applicant. (Id. at 11–12). Defendant objects to both arguments,
 7   asserts the Disclosure was sufficiently clear, and requests dismissal of Plaintiff’s claim for
 8   violation of the clear-and-conspicuous requirement. (Doc. 18 at 13–15).
 9          The Court agrees with Defendant and finds that the Disclosure was reasonably
10   understandable and therefore sufficiently clear for purposes of the FCRA. The Disclosure
11   does not “contain[ any] language that a reasonable person would not understand.” See
12   Gilberg, 913 F.3d at 1177. Rather, the Disclosure straightforwardly provides that Lowe’s
13   may obtain a background report and that such report will concern the consumer/applicant
14   or his or her “child/ward.” (Doc. 13 at 2–3). The Disclosure provides the statutory
15   definition of “background report” to help the consumer/applicant understand what the
16   report may entail and what types of information it may contain. (Id.). Finally, the
17   Disclosure advises that no credit-related information will be requested by Lowe’s unless
18   the company first obtains independent authorization from the consumer/applicant or his or
19   her “child/ward.” (Id.). The Disclosure is short, to-the-point, and does not contain any
20   typographical or grammatical errors. Compare with Gilberg, 913 F.3d at 1177 (discussing
21   how grammatical error relating to use of semi-colon rendered disclosure unclear). As
22   discussed above, the Disclosure in this case stands on its own and does not contain any
23
            5
              There is no dispute that the Disclosure was conspicuous. It included a heading
24
     stating “DISCLOSURE REGARDING BACKGROUND REPORT” and making the
25   Disclosure readily noticeable to the applicant. (See Doc. 13 at 2). Indeed, Plaintiff appears
     to concede the “conspicuousness” issue and focuses his argument on the “clearness” prong
26   instead. (See Doc. 23 at 11 (“Here, Lowe’s disclosure may have been presented with a
27   conspicuous heading to indicate to applicants what they were reviewing, but . . . the
     Disclosure is not clear.”)). The Court will do the same and finds that the Disclosure was
28   sufficiently conspicuous for purposes of the clear-and-conspicuous requirement.

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 1   extraneous, unrelated, or otherwise confusing terms that would lead a reasonable reader
 2   astray. A reasonable, prospective employee is provided full notice of what Lowe’s intends
 3   to do as it relates to the background report, and such employee is able to make an informed
 4   decision as to whether he or she wishes to authorize the action. See Syed, 853 F.3d at 496
 5   (“The disclosure and authorization provision codified at 15 U.S.C. § 1681b(b)(2)(A) was
 6   intended to address [Congress’ concern that prospective employers were violating
 7   applicants’ privacy rights] by requiring the prospective employer to disclose that it may
 8   obtain the applicant's consumer report for employment purposes and providing the means
 9   by which the prospective employee might prevent the prospective employer from doing
10   so—withholding of authorization.”).
11          Moreover, the Court is unpersuaded by the Complaint’s allegations that the
12   Disclosure was unclear. The Disclosure’s repeated references to the consumer or
13   applicant’s “child/ward” are not confusing; rather, the references simply disclose to the
14   reader that Lowe’s may obtain information about their child. Plaintiff argues that ambiguity
15   exists as to “whether Lowe’s intends to procure a consumer report regarding the applicant,
16   their children/wards, or both.” (Doc. 23 at 11 (citing Doc. 11 at 3)). Even assuming such
17   ambiguity exists, however, the Court cannot find that the entire Disclosure is rendered
18   confusing, misleading, or otherwise unclear as a result. Whether the report concerns “the
19   applicant, their children/wards, or both” is of no matter to the FCRA disclosure
20   requirement. Rather, the Act requires only “a clear and conspicuous disclosure . . . that a
21   consumer report may be obtained for employment purposes.” § 1681b(b)(2)(A)(i). The
22   Disclosure here does just that; it clearly discloses that Lowe’s may obtain, for purposes of
23   employment, a background report concerning the consumer/applicant or their child/ward.
24   In other words, the Disclosure’s inclusion of language relating to the reader’s child/ward
25   “does not create confusion as to the person or entity that will conduct the report” and
26   therefore does not violate § 1681b(b)(2)(A)’s clear and conspicuous requirement. Keefer
27   v. Ryder Integrated Logistics, Inc., No. 21-cv-07503-HSG, 2023 WL 1442891, at *4 (N.D.
28   Cal. Feb. 1, 2023) (quoting Warr, 2021 WL 6275013, at *7).


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 1               Similarly, the Court finds that the Disclosure is not rendered unclear by its final
 2   sentence which states that certain credit-related information will not be included in the
 3   background report unless further authorization is obtained. Plaintiff argues that this
 4   sentence “creates confusion as to what sort of report may be pulled and what report is
 5   actually being disclosed.” (Doc. 23 at 11). According to Plaintiff, the sentence “seems to
 6   contradict the notion that Lowe’s intends to obtain a background report at all—it is not
 7   reasonably understandable why Lowe’s would disclose that it may obtain a report
 8   containing various information, only to state in the same form that it will not do so without
 9   providing further disclosure.” (Id. at 11–12). The Court does not agree. As discussed above,
10   the Disclosure’s final sentence merely provides that a specific category of information—
11   i.e., information related to the applicant’s worthiness, credit standing, or credit capacity—
12   would not be requested by Lowe’s unless the applicant signed a separate authorization. The
13   Disclosure’s previous inclusion of “information . . . bearing on your or your child’s/ward’s
14   credit worthiness, credit standing, [and] credit capacity” in its definition of “background
15   report” does not contradict the Disclosure’s final sentence. Stated more simply, the
16   Disclosure is essentially stating that “Lowe’s may obtain a background report for
17   employment purposes. The term ‘background report’ may include information bearing on
18   X, Y, and Z. However, Employer will not request any information bearing on X without
19   obtaining separate authorization.” The Court finds this to be more than reasonably
20   understandable. Plaintiff has failed to sufficiently allege that the Disclosure used by Lowe’s
21   was not clear and conspicuous.
22         IV.      CONCLUSION
23               The Court finds that the Disclosure in this case lacked any extraneous information
24   in violation of the standalone requirement, and that it was reasonably understandable such
25   that it did not violate the clear-and-conspicuous requirement. As a matter of law, the
26   Disclosure did not violate § 1681b(b)(2)(A) of the FCRA and Counts I and II are dismissed
27   with prejudice.
28   ///


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 1          Accordingly,
 2          IT IS ORDERED that Defendant’s Motion to Dismiss (Doc. 18) is granted.
 3   Counts I and II are dismissed with prejudice, and Defendant Lowe’s Home Centers LLC
 4   is dismissed from this action.
 5          Dated this 20th day of June, 2023.
 6
 7                                                    Honorable Steven P. Logan
                                                      United States District Judge
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                                                                                 IN THE UNITED STATES DISTRICT COURT
                                                      15
                                                                                       FOR THE DISTRICT OF ARIZONA
                                                      16
                                                      17
                                                      18    Justin Downing, individually and on
                                                            behalf of all others similarly situated,    No. 3:22-cv-08159-SPL
                                                      19                          Plaintiff,            LOWE’S HOME CENTERS, LLC’S
                                                      20                                                MOTION TO DISMISS
                                                            v.
                                                                                                        COUNTS I AND II
                                                      21    Lowe’s Home Centers, LLC, a North
                                                      22    Carolina corporation, and First Advantage   Assigned to Hon. Steven P. Logan
                                                            Corporation, a Delaware corporation,
                                                      23                                                ORAL ARGUMENT REQUESTED
                                                                                  Defendants.
                                                      24
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                                                      14             B.       Downing Cannot Plausibly Allege A Willful Violation Here. ........ 11
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                             L.L.P.




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                                                       1   employment purposes,” and thus, it essentially mirrors the statutory language in 15 U.S.C.
                                                       2   § 1681b(b)(2)(A). The second sentence similarly mirrors the statutory definition of a
                                                       3   consumer report in 15 U.S.C. § 1681a(d)(1).         Compare Am. Compl., Ex. A at 2–3
                                                       4   (“‘Background report’ means any written, oral, or other communication of any information
                                                       5   by a consumer reporting agency bearing on your or your child’s/ward’s credit worthiness,
                                                       6   credit standing, credit capacity, character, general reputation, personal characteristics, or
                                                       7   mode of living.”), with 15 U.S.C. § 1681a(d)(1) (“The term ‘consumer report’ means any
                                                       8   written, oral, or other communication of any information by a consumer reporting agency
                                                       9   bearing on a consumer’s credit worthiness, credit standing, credit capacity, character,
                                                      10   general reputation, personal characteristics, or mode of living[.]”). And the remaining two
                                                      11   sentences fit comfortably within Walker’s holding that an employer may include in its
                                                      12   disclosure language that “elucidate[s] what it means to ‘obtain’ a consumer report by
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                                                      13   providing helpful information,” including a description of “what private and public
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                                                      14   information about the applicant will be examined.” Walker, 953 F.3d at 1090; see also,
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                                                      15   e.g., Williams, 2020 WL 13328483, at *5 (dismissing claim because the employer’s form
                                                      16   “explains the disclosure ‘in plain language’ in four succinct sentences”) (quoting Luna, 956
                                                      17   F.3d at 1153); Rivera, 2022 WL 3219411, at *8–9 (dismissing claim for similar reasons);
                                                      18   Warr v. Cent. Garden Pet Co., 2021 WL 6275013, at *5 (N.D. Cal. Sept. 21, 2021) (same).
                                                      19             Downing’s claim to the contrary “stretches the statute’s requirements beyond the
                                                      20   limits of law and common sense.” Luna, 956 F.3d at 1152. He alleges that Lowe’s
                                                      21   disclosure violates the standalone requirement in two ways, but neither argument has merit.
                                                      22             First, Downing alleges that the disclosure “unlawfully combines a disclosure to
                                                      23   obtain consumer reports about [prospective employees] with a disclosure to obtain
                                                      24   consumer reports about their children or wards.” Am. Compl. ¶ 53. But the detailed
                                                      25   explanation of the potential scope of the consumer report is not extraneous—to the contrary,
                                                      26   it is precisely the sort of explanation that the Ninth Circuit has encouraged employers to
                                                      27   include in their disclosures because it provides “helpful information about . . . what private
                                                      28   and public information about the applicant will be examined to create a consumer report.”

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                                                       1   Walker, 953 F.3d at 1090 (quotation marks omitted). To the extent that Lowe’s sought to
                                                       2   hire a minor, for example, and the parent was completing the form on the minor’s behalf,
                                                       3   this language explains to the parent that Lowe’s might seek information about the minor.
                                                       4             The Northern District of California recently rejected a similar argument to the one
                                                       5   Downing seeks to raise here—namely, that an employer’s disclosure violated the standalone
                                                       6   requirement because the information the employer sought was allegedly “overbroad and
                                                       7   excessively intrusive.” Juster v. Workday, Inc., --- F. Supp. 3d ---, 2022 WL 3030530, at
                                                       8   *6 (N.D. Cal. Aug. 1, 2022) (granting motion to dismiss). There, the court held that even
                                                       9   if the employer was legally prohibited from obtaining “the breadth of the information that
                                                      10   it claimed it could,” that was “not the kind of problem with which the FCRA is concerned,”
                                                      11   because “the prospective employee is not being misled about what type of information the
                                                      12   employer wants to get.” Id. (emphasis added). Fundamentally, a disclosure’s reference to
             One East Washington Street, Suite 2700




                                                      13   “a type of background information that may be obtained” cannot be extraneous because it
Snell & Wilmer
                    Phoenix, Arizona 85004




                                                      14   is not “something other than the disclosure,” and instead is “a brief explanation of what a
                        LAW OFFICES


                         602.382.6000
                             L.L.P.




                                                      15   consumer report is and what can be obtained.” Id. at *7 (emphasis in original).
                                                      16             Second, Downing alleges that the fourth sentence of Lowe’s disclosure contains
                                                      17   “additional extraneous information” by explaining (as he paraphrases it) that Lowe’s “will
                                                      18   not request any information relates [sic] to applicant’s [sic] or their children’s/ward’s
                                                      19   ‘worthiness, credit standing, or credit capacity’ unless it provides a separate disclosure and
                                                      20   authorization for such credit information.” Am. Compl. ¶ 54. But this sentence simply
                                                      21   explains that Lowe’s will not seek one subtype of information that can be included in a
                                                      22   background report—credit information—without additional notice and authorization. Id.,
                                                      23   Ex. A. at 2–3. Thus, the sentence provides “helpful information about . . . what private and
                                                      24   public information about the applicant will be examined.” Walker, 953 F.3d at 1090.
                                                      25             Once again, a court in this Circuit already has held that a straightforward application
                                                      26   of Walker forecloses an argument virtually identical to the one Downing makes here. In
                                                      27   Warr, the plaintiff challenged language in an employer’s disclosure that, as here, indicated
                                                      28   that the employer might not immediately, or ever, seek the applicant’s credit information.

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 6
 7                           UNITED STATES DISTRICT COURT
 8                               DISTRICT OF ARIZONA
 9
      Justin Downing, individually and on behalf Case No. 3:22-cv-08159-SPL
10    of all others similarly situated,
11
                                  Plaintiff,         FIRST AMENDED CLASS ACTION
12                                                   COMPLAINT
13    v.
                                                     JURY TRIAL DEMANDED
14    Lowe's Home Centers, LLC, a North
15    Carolina limited liability company, and
      First Advantage Corporation, a Delaware
16    corporation,
17
                                  Defendants.
18
19
            Plaintiff Justin Downing (“Plaintiff” or “Downing”) brings this first amended class
20
     action complaint against Defendants Lowe's Home Centers, LLC (“Lowe’s”) and First
21
     Advantage Corporation (“First Advantage”, and collectively with Lowe’s, “Defendants”)
22
     to obtain redress for Defendants’ serial violations of the Fair Credit Reporting Act, 15
23
     U.S.C. § 1681, et seq. (“FCRA” or “Act”). Specifically, Plaintiff files the instant lawsuit
24
     to address: (1) Lowe’s failure to provide lawful notices and disclosures to its job
25
     applicants and employees, (2) First Advantage’s practice of failing to implement
26
     reasonable policies and procedures to ensure the maximum possible accuracy of the
27
28   information contained in consumer reports, and (3) First Advantage’s failure to adopt

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 1   strict procedures to ensure that adverse information contained in consumer reports is
 2   complete and up to date. Plaintiff seeks redress for all individuals similarly injured by the
 3   Defendants’ conduct. Plaintiff, for his Complaint, alleges as follows upon personal
 4   knowledge as to himself and his own acts and experiences, and, as to all other matters,
 5   upon information and belief, including investigation conducted by his attorneys.
 6                                 NATURE OF THE ACTION
 7
            1.     Enacted to promote the accuracy, fairness, and privacy of consumer
 8
     information contained in the files of consumer reporting agencies, the FCRA explicitly
 9
     protects consumers from disclosure of their personal information contained in their
10
     consumer reports. To that end, employers who obtain and use consumer reports regarding
11
     their job applicants and employees are required to provide, prior to obtaining consumer
12
     reports in the first place, a clear and conspicuous disclosure, in a document consisting
13
     solely of the disclosure (i.e., that stands alone), that a consumer report will be obtained
14
     for employment purposes. And for their part, when preparing the reports, consumer
15
     reporting agencies must implement and follow procedures designed to ensure maximum
16
     possible accuracy of the information they provide concerning the individuals about whom
17
18   the reports relate and to ensure that the information is complete and up to date.

19          2.     Defendant Lowe’s willfully violated the FCRA by: (1) failing to provide a

20   standalone, upfront disclosure that Defendant may procure consumer reports about its

21   applicants and employees, and (2) failing to provide a clear and conspicuous disclosure

22   prior to obtaining consumer reports.
23          3.     Lowe’s willfully violated the FCRA by failing to provide applicants or
24   employees with a standalone disclosure that clearly and conspicuously indicates—in a
25   document consisting solely of the disclosure—that Lowe’s may obtain a consumer report
26   about them for employment purposes. That is, Lowe’s provides a single disclosure that
27   includes extraneous information regarding Lowe’s supposed ability to obtain consumer
28   reports regarding the applicant’s children/wards. The disclosure also contains additional

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 1   extraneous information regarding future disclosures and authorizations that may be
 2   sought.
 3          4.     The inclusion of such extraneous information overshadows the consumer
 4   report disclosure and renders the disclosure confusing to Plaintiff and to any reasonable
 5   person. By including extraneous information, it is unclear as to whether Lowe’s intends
 6   to procure a consumer report regarding the applicant, their children/wards, or both. This
 7
     lack of clarity frustrates the purpose of the FCRA, which is to inform consumers and
 8
     allow them a meaningful opportunity to authorize such disclosures. Plaintiff was
 9
     confused by the disclosure, and had a lawful disclosure been provided, Plaintiff would
10
     not have signed it.
11
            5.     For its part, Defendant First Advantage willfully violated the FCRA by
12
     furnishing consumer reports while failing to implement and follow reasonable procedures
13
     to ensure the maximum possible accuracy of the information contained in the report. That
14
     is, First Advantage compiled consumer reports regarding Plaintiff and class members that
15
     included inaccurate dispositions of past criminal histories.
16
            6.     First Advantage also willfully violated, and continues to violate, the FCRA
17
18   by failing to maintain (or follow) strict procedures designed to ensure that public record

19   information is complete and up to date when it is included in consumer reports and is

20   likely to have an adverse effect on a consumer’s ability to obtain employment. Here, First

21   Advantage furnished consumer reports relating to Plaintiff and class members containing

22   outdated and incomplete dispositions of past criminal histories.
23          7.     By failing to adopt (or follow) reasonable or strict procedures as required,
24   First Advantage furnished consumer reports to third parties that contained both false and
25   misleading information, which had an adverse effect on consumers’ ability to obtain
26   employment.
27          8.     Additionally, First Advantage also willfully violated the FCRA by failing
28   to provide notice to consumers that adverse public record information was being

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 1   conveyed to potential employers. First Advantage deprived applicants of an opportunity
 2   to correct the false and misleading information.
 3            9.    As a result of Defendants’ willful violations of the FCRA, Plaintiff
 4   Downing and the members of the Classes were deprived of their privacy rights
 5   guaranteed to them by federal law, and they are therefore entitled to statutory damages of
 6   at least $100 and not more than $1,000 for each willful violation. See 15 U.S.C. §
 7
     1681n(a)(1)(A).
 8
                                              PARTIES
 9
              10.   Plaintiff Downing is a natural person and citizen of the State of Arizona. He
10
     resides in Show Low, Navajo County, Arizona.
11
              11.   Defendant Lowe’s is a North Carolina limited liability company with its
12
     principal place of business located at 1000 Lowe's Blvd, Mooresville, North Carolina
13
     28117.
14
              12.   Defendant First Advantage is a Delaware corporation with its principal
15
     place of business located at 1 Concourse Pkwy NE, Suite 200, Atlanta, GA 30328.
16
                                  JURISDICTION AND VENUE
17
18            13.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because

19   this action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq., which is

20   a federal statute. Jurisdiction is additionally proper under the Class Action Fairness Act,

21   28 U.S.C. § 1332(d), et seq. (“CAFA”), because the classes each consist of over 100

22   people, there is minimal diversity, and the amount in controversy, when aggregated, is
23   over $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply.
24            14.   This Court has personal jurisdiction over Defendants because they conduct
25   substantial business in this District and the unlawful conduct alleged in the Complaint
26   occurred in this District or the unlawful decisions that lead to the violations of the FCRA
27   set forth in this Complaint were made in this District.
28            15.   Venue is proper in this District under 28 U.S.C. § 1391 because a

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 1   substantial part of the events and omissions giving rise to the claims occurred in or
 2   emanated from this District, and because Plaintiff resides in this District and applied for
 3   work with Lowe’s in this District.
 4                 FACTS COMMON TO PLAINTIFF AND ALL COUNTS
 5          16.    Lowe’s is a well-known American retail company specializing in home
 6   improvement. It operates warehouse-style home improvement stores throughout the
 7
     United States, including Arizona.
 8
            17.    First Advantage is a consumer reporting agency that collects and aggregates
 9
     information about consumers world-wide. First Advantage generates a substantial portion
10
     of its business and income by providing background screening services to employers
11
     nationwide
12
            18.    In or around February 2022, Plaintiff applied for a job with Lowe’s at a
13
     store located in Show Low, Arizona.
14
            19.    In or around February 2022, in connection with his employment
15
     application, Plaintiff was required to complete various acknowledgments of company
16
     disclosures, including a disclosure regarding Plaintiff’s background report.
17
18          20.    Rather than provide a standalone disclosure—as the FCRA unambiguously

19   requires—Plaintiff was presented with a document styled, “Disclosure Regarding

20   Background Report.” (See FCRA Disclosure, a true and accurate copy of which is

21   attached hereto as Ex. A.) The pre-report disclosure that Lowe’s provided to applicants

22   and employees unlawfully combines disclosures to obtain consumer reports regarding
23   applicants and their children or wards. It states:
24          Lowe's Companies, Inc. and/or its affiliates, including Lowe's Home Centers,
            LLC, ("Lowe's") may obtain a "background report" about you or your
25          child/ward for employment purposes from a third-party consumer reporting
            agency. "Background report" means any written, oral, or other
26          communication of any information by a consumer reporting agency bearing
            on your or your child's/ward's credit worthiness, credit standing, credit
27          capacity, character, general reputation, personal characteristics, or mode of
28          living. The reports may include information regarding your or your
            child's/ward's history, criminal history, social security verification, motor
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             vehicle records, verification of your education or employment history, or
 1           other background check results.
             Lowe's will not request any information related to your or your child's/ward's
 2           worthiness, credit standing, or credit capacity without providing you or your
             child/ward, separately, with information related to the use of that information
 3           and obtaining separate authorization from you to obtain such information,
 4           where required.

 5   (See Ex. A).

 6           21.    That is, Lowe’s provides a single disclosure that seeks to satisfy the

 7   disclosure requirements for it to obtain a consumer report regarding both the applicants

 8   and their children, including their or their children’s criminal history, motor vehicle

 9   records, credit standing, credit capacity, educational history, employment history and

10   more.
11           22.    The disclosure also contains additional extraneous information: Despite
12   initially explaining that a consumer report may contain information relating to the
13   applicant’s or their children’s credit worthiness, credit standing, and credit capacity, in
14   the very next paragraph Lowe’s purports to explain that it will not request any
15   information relates to applicant’s or their children’s “worthiness, credit standing, or credit
16   capacity” unless it provides a separate disclosure and authorization for credit information.
17           23.    The disclosure does not standalone, nor is it clear and conspicuous. It is
18   opaque and confusing.
19
             24.    The inclusion of such extraneous information overshadows the consumer
20
     report disclosure and renders the disclosure confusing to Plaintiff and the other class
21
     members. By combining the disclosure to obtain an applicant’s consumer report with a
22
     disclosure to obtain information about their child or ward in a single document, and by
23
     including a confusing and conflicting explanation regarding future disclosures, it is
24
     unclear whether Lowe’s intends to procure consumer reports regarding applicants, their
25
     children/wards, or both. Nowhere does Lowe’s make any attempt to explain why it would
26
     need to access the consumer report of an applicant’s children, wards, or other offspring.
27
     This lack of clarity frustrates the purpose of the FCRA, which is to inform consumers and
28

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 1   allow them a meaningful opportunity to authorize such disclosures. Had a lawful
 2   disclosure been provided, Plaintiff and others would not have signed it.
 3          25.    For its part, First Advantage furnished consumer reports to Lowe’s and
 4   other potential employers without first implementing reasonable procedures to ensure the
 5   maximum possible accuracy of the information contained in the report, and failed to
 6   implement strict procedures designed to ensure that when public information contained in
 7
     a consumer report is likely to have an adverse effect on a consumer’s ability to obtain
 8
     employment, that such sensitive information is complete and up to date.
 9
            26.    Lowe’s contracted with First Advantage to compile and furnish a consumer
10
     report regarding Downing and other class members for employment purposes.
11
            27.    On or about February 26, 2022, First Advantage commenced a search for
12
     Plaintiff’s past criminal history to be included in his consumer report.
13
            28.    After the search commenced, First Advantage noted that additional
14
     handling was required with respect to Plaintiff’s past criminal history.
15
            29.    On February 26, 2022, First Advantage noted that research was required
16
     with respect to Plaintiff’s past criminal history.
17
18          30.    On March 2, 2022, First Advantage again noted that research was required

19   with respect to Plaintiff’s past criminal history.

20          31.    On March 2, 2022, First Advantage furnished a consumer report regarding

21   Plaintiff to Lowe’s for employment purposes.

22          32.    The report included inaccurate and materially misleading information
23   relating to Plaintiff’s prior criminal history, which had a negative impact on his
24   employment opportunities. In preparing the report, First Advantage failed to follow
25   reasonable procedures to ensure the maximum possible accuracy of the information
26   contained in the report. Instead, First Advantage furnished an inaccurate report
27   containing three past criminal convictions with the disposition stated as “guilty”.
28          33.    While Plaintiff did plead guilty to the three criminal charges between 2006

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 1   and 2009, it is not accurate to state that the disposition of those cases is “guilty”.
 2          34.    On November 24, 2020, the Navajo County Superior Court issued an Order
 3   setting aside Plaintiff’s judgments of guilt (see Order Setting Aside Judgment of Guilt, a
 4   true and accurate copy of which is attached hereto as Ex. B), which restored Plaintiff’s
 5   civil rights under Arizona law pursuant to A.R.S. § 13-905. The Order setting aside the
 6   judgments of guilt were made publicly available at
 7
     https://apps.supremecourt.az.gov/publicaccess/minutes.aspx.
 8
            35.    Judgments setting aside guilt are not some arbitrary distinction. Rather,
 9
     when a court sets aside a criminal conviction pursuant to A.R.S. § 13-905 and includes a
10
     certificate of second chance, the individual’s civil rights are restored, including
11
     occupational rights. The restoration of rights includes the release of the individual from
12
     all barriers and disabilities in obtaining occupational licenses issued under Arizona Title
13
     32. See A.R.S. § 13-905(K). Further, Arizona law provides potential employers with
14
     protection should they choose to hire individuals that have had their convictions set aside.
15
     Id.; see also A.R.S. § 12-558.03, et seq.
16
            36.    By failing to inform potential employers that a prior conviction was set
17
18   aside, First Advantage provides false and inaccurate information that deprives employers

19   of critical data needed to make an informed decisions regarding potential applicants. It

20   also strips job applicants like Plaintiff from having the ability to attain gainful

21   employment.

22          37.    Additionally, despite preparing the report with public record information
23   that was likely to have an adverse effect on Plaintiff’s ability to obtain employment, First
24   Advantage also failed to provide any notice that the information was being furnished to
25   Lowe’s. This failure deprived Plaintiff of a meaningful opportunity to correct the
26   inaccurate information.
27          38.    On or around March 10, 2022, Lowe’s informed Plaintiff that he was being
28   denied employment based in whole or in part on information contained within his

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 1   consumer report.
 2          39.    Based on foregoing, Plaintiff brings this suit, on behalf of himself and those
 3   similarly situated, seeking redress for Defendants’ widespread and willful violations of
 4   the FCRA. Such violations entitle him, and other similarly situated persons, to statutory
 5   damages of not less than $100 and not more than $1,000 per violation.
 6                               CLASS ACTION ALLEGATIONS
 7
            40.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure Rule
 8
     23(b)(3) on behalf of himself and the following Classes defined as follows:
 9
            Lowe’s Class: All persons in the United States who (1) from a date two
10          years prior to the filing of the initial complaint in this action to the date
11          notice is sent to the Class; (2) applied for employment with Lowe’s; (3)
            about whom Lowe’s procured a consumer report; and (4) who were
12          provided the same form FCRA disclosure and authorization as the
            disclosure and authorization form Lowe’s provided to Plaintiff.
13
            First Advantage Class: All persons in the United States (1) from a date
14
            two years prior to the filing of the initial complaint in this action to the date
15          notice is sent to the Class; (2) about whom First Advantage provided a
            consumer report; (3) to any employer or potential employer; (4) where the
16          consumer report contained a criminal disposition of “guilty”; and (5) where
17          the consumer’s conviction had been set aside pursuant to A.R.S. § 13-905.
18          41.    Excluded from the Classes are (1) Defendants, Defendants’ agents,

19   subsidiaries, parents, successors, predecessors, and any entity in which Defendants or

20   their parents have a controlling interest, and those entities’ officers and directors, (2) the

21   Judge or Magistrate Judge to whom this case is assigned and the Judge’s or Magistrate

22   Judge’s immediate family, (3) persons who execute and file a timely request for

23   exclusion, (4) persons who have had their claims in this matter finally adjudicated and/or

24   otherwise released, (5) Plaintiff’s and Defendants’ counsel, and (6) the legal

25   representatives, successors, and assigns of any such excluded person. Plaintiff anticipates

26   the need to amend the Complaint, including the Class Definitions, following a reasonable

27   period for class discovery.

28          42.    Numerosity: The exact number of class members is unknown to Plaintiff at

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 1   this time, but it is clear that individual joinder is impracticable for each of the Classes. On
 2   information and belief, there are thousands of individuals that fall into the defined
 3   Classes. Further, the class members can readily be ascertained through objective criteria,
 4   including Defendants’ records.
 5          43.    Commonality: Common questions of law and fact exist as to all members
 6   of the Classes for which this proceeding will provide common answers in a single stroke
 7   based upon common evidence, including:
 8          (a)    Whether First Advantage violated the FCRA;
 9          (b)    Whether First Advantage prepared consumer reports with inaccurate
10                 criminal dispositions;
11          (c)    Whether First Advantage implemented policies and procedures to ensure
12                 maximum possible accuracy of the consumer reports that it prepares;
13          (d)    Whether First Advantage failed to follow its own policies and procedures to
14                 ensure the maximum possible accuracy of the consumer reports that it
15                 prepares;
16          (e)    Whether First Advantage implemented strict procedures to ensure that
17                 where adverse public record information reported on a consumer report is
18                 likely to impact an applicant’s ability to obtain employment that the
19                 information is complete and up to date;
20          (f)    Whether First Advantage failed to follow its own procedures to ensure that
21                 adverse public record information that is reported on a consumer report is
22                 complete and up to date;
23          (g)    Whether First Advantage’s violations of the FCRA were willful;
24          (h)    Whether Lowe’s conduct described herein violated the FCRA;
25          (i)    Whether Lowe’s has procured or caused to be procured consumer reports
26                 about job applicants and employees;
27
28

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 1          (c)    Whether Lowe’s disclosure violates the FCRA’s requirement that the pre-
 2                 report disclosure be clear and conspicuous in a document consisting solely
 3                 of the disclosure; and
 4          (j)    Whether Lowe’s violations of the FCRA were willful.
 5          44.    Typicality: As a result of Defendants’ uniform and repeated pattern of
 6   providing and preparing consumer reports, Plaintiff and the Class Members suffered the
 7   same injury and similar damages. If Defendants’ actions violated the FCRA as to
 8   Plaintiff, then it violated the FCRA as to all Class Members. Thus, Plaintiff’s claims are
 9   typical of the claims of the other Class Members.
10          45.    Adequate Representation: Plaintiff is a member of the Classes and both
11   he and his counsel will fairly and adequately represent and protect the interests of the
12   Classes, as neither has interests adverse to those of the Class Members and Defendants
13   have no defenses unique to Plaintiff. In addition, Plaintiff has retained counsel competent
14   and experienced in complex litigation and class actions including class actions related to
15   the procurement of consumer reports for employment purposes under the Fair Credit
16   Reporting Act. Further, Plaintiff and his counsel are committed to vigorously prosecuting
17   this action on behalf of the members of the Classes, and they have the financial resources
18   to do so.
19          46.    Predominance: The common questions of law and fact set forth above go
20   to the very heart of the controversy and predominate over any supposed individualized
21   questions. Irrespective of any given Class Member’s situation, the answer to whether
22   Defendants’ conduct described herein repeatedly violated the FCRA is the same for
23   everyone—a resounding “yes”—and the same will be proven using common evidence.
24          47.    Superiority and Manageability: A class action is superior to all other
25   methods of adjudicating the controversy. Joinder of all class members is impractical, and
26   the damages suffered by/available to any individual Class Members will likely be small
27   relative to the cost associated with prosecuting a lawsuit. Thus, the expense of litigating
28   an individual action will likely prohibit the Class Members from obtaining effective relief

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 1   for Defendants’ misconduct. In addition, there are numerous common factual and legal
 2   questions that could result in inconsistent verdicts should there be several successive
 3   trials. In contrast, a class action will present far fewer management difficulties, and it will
 4   increase efficiency and decrease expense. Further, class-wide adjudication will also
 5   ensure a uniform decision for the Class Members.
 6          48.      Plaintiff reserves the right to revise the definition of the Classes as
 7   necessary based upon information obtained in discovery.
 8                                           COUNT I
                               Violation of 15 U.S.C. § 1681b, et seq.
 9
                            (On Behalf of Plaintiff and the Lowe’s Class)
10
            49.      Plaintiff incorporates by reference the foregoing allegations as if fully set
11
     forth herein.
12
            50.      The FCRA declares that:
13
            Except as provided in subparagraph (B), a person may not procure a
14          consumer report, or cause a consumer report to be procured, for
            employment purposes with respect to any consumer, unless—
15
            (i) a clear and conspicuous disclosure has been made in writing to the
16          consumer at any time before the report is procured or caused to be
17          procured, in a document that consists solely of the disclosure, that a
            consumer report may be obtained for employment purposes . . . .
18
     15 U.S.C. § 1681b(b)(2)(A) (emphasis added).
19
            51.      The FCRA defines a consumer report as:
20
            . . . any written, oral, or other communication of any information by a
21          consumer reporting agency bearing on a consumers’ credit worthiness,
22          credit standing, cred-it capacity, character, general reputation, personal
            characteristics, or mode of living which is used or excepted to be used or
23          collected in whole or in part for the purpose of serving as a factor
24          establishing the consumer’s eligibility for . . .

25          (B) employment purposes . . .

26   15 U.S.C. § 1681a(d)(1).

27          52.      Lowe’s employment background checks are consumer reports.
28

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 1          53.    The pre-report disclosure that Lowe’s provided to applicants and
 2   employees unlawfully combines a disclosure to obtain consumer reports about them with
 3   a disclosure to obtain consumer reports about their children or wards. (Ex. A.) Lowe’s
 4   provides a single disclosure that confusingly combines information about both the
 5   applicants themselves as well as regarding their children or wards, including their or their
 6   children’s/ward’s criminal history, motor vehicle records, credit standing, credit capacity,
 7
     educational history, employment history and more. (Id.)
 8
            54.    The disclosure also contains additional extraneous information that appears
 9
     confusing and contradictory. (Id.) Despite explaining that a consumer report may contain
10
     information relating to the applicant’s or their children’s/ward’s credit worthiness, credit
11
     standing, and credit capacity, in the very next paragraph Lowe’spurports to explain that it
12
     will not request any information relates to applicant’s or their children’s/ward’s
13
     “worthiness, credit standing, or credit capacity” unless it provides a separate disclosure
14
     and authorization for such credit information. (Id.)
15
            55.    By combining the applicant’s and their children’s/ward’s disclosure into
16
     one document, and by including a confusing and conflicting explanation regarding
17
18   disclosures, Lowe’s disclosure cannot be said to “stand alone” in a document that consists

19   solely of the disclosure. A reasonable person would not have understood or authorized

20   the reports had an appropriate disclosures been provided. Plaintiff and the other class

21   members wouldn't have authorized the reports had appropriate disclosures been provided.

22          56.    Defendant procured consumer reports with respect to Plaintiff and the
23   Lowe’s Class. The disclosures provided to Plaintiff were the same or substantially the
24   same as the one provided to all Lowe’s Class members. Thus, Defendant uniformly
25   violated the FCRA rights of all Class members in the same way and, in the process,
26   violated their right to information and their privacy rights as delineated by Congress.
27          57.    Defendant’s violation of 15 U.S.C. § 1681b(b)(2)(A)(i) was willful for at
28   least the following reasons:

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            (i)     The rule that FRCA disclosures consist “solely” of that disclosure has
 1
                    been the law established for well over a decade.
 2
            (ii)    Lowe’s is a large company who regularly engages outside counsel—
 3                  it had ample means and opportunity to seek legal advice regarding its
                    FCRA responsibilities. As such, any violations were made in
 4
                    conscious disregard of the rights of others.
 5
            (iii)   Lowe’s previously settled a class action lawsuit for alleged violations
 6                  of the FCRA’s stand alone disclosure requirements. As such, its
                    failure to comply with the FCRA cannot be seen as anything other
 7                  than a willful defiance of the Act’s requirements.
 8          (iv)    Lowe’s inclusion of the disclosures relating to applicant’s children or
 9                  wards was intentional and serves no purpose to the vast majority of
                    job applicants, including Plaintiff; and
10
            (v)     Clear judicial and administrative guidance—dating back to at least the
11                  1990s—regarding a company’s FCRA responsibilities exists and is
12                  readily available explaining that such disclosures must stand-alone.
                    This readily-available guidance means Lowe’s either was aware of its
13                  responsibilities or plainly should have been aware of its
14                  responsibilities but ignored them and violated the FCRA anyway.

15          (vi)    The Ninth Circuit has clearly articulated the law in this area in a series
                    of cases, beginning in 2017: Syed v. M-I, LLC, 853 F.3d 492 (9th Cir.
16                  2017); Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169
17                  (9th Cir. 2019); and Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1095
                    (9th Cir. 2020). Thus, at this point in time there is no excuse for a
18                  company like Lowe’s to be in noncompliance with the FCRA’s clear
                    and unambiguous requirements.
19
            58.     Plaintiff and the Lowe’s Class seek damages under 15 U.S.C. § 1681n, et
20
     seq. Indeed, Plaintiff and the Lowe’s Class are entitled to statutory damages of not less
21
22   than $100 and not more than $1,000 for each of Defendant’s willful violations pursuant

23   to 15 U.S.C. § 1681n(a)(1)(A).

24          59.     In the alternative, Plaintiff and the Lowe’s Class seek actual damages under

25   15 U.S.C. § 1681o, et seq. Lowe’s acted negligently by failing to provide a standalone
26   disclosure. Had Lowe’s provided a standalone disclosure, Plaintiff and the class members
27   would not have authorized the procurement of their reports. As such, Lowe’s breached its
28   duty of care to Plaintiff and the Lowe’s Class and this breach is the direct and proximate

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 1   cause of Plaintiff’s and the class members’ damages. Plaintiff seeks actual damages in an
 2   amount to be proven at trial or, at a minimum, seeks nominal damages.
 3          60.      Accordingly, under the FCRA, Plaintiff and the Lowe’s Class seek
 4   statutory damages, reasonable cost and attorneys’ fees, pre- and post-judgment interest,
 5   and such other relief as the Court deems necessary, reasonable, and just.
 6                                           COUNT II
 7                             Violation of 15 U.S.C. § 1681b, et seq.
                            (On Behalf of Plaintiff and the Lowe’s Class)
 8
            61.      Plaintiff incorporates by reference the foregoing allegations as if fully set
 9
     forth herein.
10
            62.      The FCRA declares that:
11
            Except as provided in subparagraph (B), a person may not procure a
12          consumer report, or cause a consumer report to be procured, for
13          employment purposes with respect to any consumer, unless—
            (i) a clear and conspicuous disclosure has been made in writing to the
14
            consumer at any time before the report is procured or caused to be
15          procured, in a document that consists solely of the disclosure, that a
            consumer report may be obtained for employment purposes . . . .
16
     15 U.S.C. § 1681b(b)(2)(A) (emphasis added).
17
            63.      The FCRA defines a consumer report as:
18
            . . . any written, oral, or other communication of any information by a
19
            consumer reporting agency bearing on a consumers’ credit worthiness,
20          credit standing, cred-it capacity, character, general reputation, personal
            characteristics, or mode of living which is used or excepted to be used or
21
            collected in whole or in part for the purpose of serving as a factor
22          establishing the consumer’s eligibility for . . .
23          (B) employment purposes . . .
24   15 U.S.C. § 1681a(d)(1).
25          64.      Lowe’s background checks are consumer reports.
26          65.      In addition to failing to stand-alone, Lowe’s disclosure also willfully
27   violated the FCRA by not being clear and conspicuous. The disclosure repeatedly and
28   confusingly informs Plaintiff and the Class Members that Lowe’s may obtain consumer

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 1   reports regarding both them and their children or wards. The scope of the consumer
 2   reports can also include information concerning the applicant’s or their children’s or
 3   ward’s credit worthiness, credit standing, credit capacity, character, general reputation,
 4   personal characteristics, mode of living, history, criminal history, social security
 5   verification, motor vehicle records, verification of your education or employment history,
 6   or other background check results. The inclusion of multiple disclosures regarding
 7
     applicants and their children or wards renders the disclosure confusing and cannot be said
 8
     to be “clear and conspicuous”.
 9
            66.    The disclosure also confusingly includes conflicting information regarding
10
     the procurement of credit information. Again, Lowe's discloses that a consumer report
11
     may contain information relating to the applicant’s or their children’s credit worthiness,
12
     credit standing, and credit capacity. Then, in the very next paragraph, Lowe’s purports to
13
     explain that it will not request any information related to applicant’s or their children’s
14
     “worthiness, credit standing, or credit capacity” unless it provides a separate disclosure
15
     and authorization for credit information. The unnecessary inclusion of this conflicting
16
     information detracts from the purpose of the disclosure and renders the disclosure
17
18   confusing.

19          67.    In short, the pre-report disclosure that Lowe’s provided to Plaintiff and the

20   Lowe’s Class members willfully violated the FCRA by not being clear and conspicuous.

21   Indeed, a reasonable person would have been confused by the disclosure.

22          68.    Plaintiff and the other class members wouldn't have authorized the reports
23   had appropriate disclosures been provided.
24          69.    Defendant procured consumer reports with respect to Plaintiff and the
25   Lowe’s Class. The disclosures provided to Plaintiff were the same or substantially the
26   same as the one provided to all Lowe’s Class members. Thus, Defendant uniformly
27   violated the FCRA rights of all Class members in the same way and, in the process,
28   violated their right to information and their privacy rights as delineated by Congress.

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 1          70.     Defendant’s violation of 15 U.S.C. § 1681b(b)(2)(A)(i) was willful for at
 2   least the following reasons:
 3          (i)     The rule that FRCA disclosures be “clear and conspicuous” has been
 4                  the law established for well over a decade;

 5          (ii)    Lowe’s is a large company who regularly engages outside counsel—
                    it had ample means and opportunity to seek legal advice regarding its
 6                  FCRA responsibilities. As such, any violations were made in
 7                  conscious disregard of the rights of others;

 8          (iii)   Lowe’s previously settled a class action lawsuit for alleged violations
                    of the FCRA’s clear and conspicuous disclosure requirements. As
 9                  such, its failure to comply with the FCRA cannot be seen as anything
                    other than a willful defiance of the Act’s requirements;
10
            (iv)    Lowe’s inclusion of the disclosures relating to applicant’s children or
11
                    wards was intentional and serves no purpose to the vast majority of
12                  job applicants, including Plaintiff; and
13          (v)     Clear judicial and administrative guidance—dating back to at least the
                    1990s—regarding a company’s FCRA responsibilities exists and is
14
                    readily available explaining that such disclosures must be clear and
15                  conspicuous. This readily-available guidance means Lowe’s either
                    was aware of its responsibilities or plainly should have been aware of
16                  its responsibilities but ignored them and violated the FCRA anyway.
17          (vi)    The Ninth Circuit has clearly articulated the law in this area in a series
18                  of cases, beginning in 2017: Syed v. M-I, LLC, 853 F.3d 492 (9th Cir.
                    2017); Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169
19                  (9th Cir. 2019); and Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1095
20                  (9th Cir. 2020). Thus, at this point in time there is no excuse for a
                    company like Lowe’s to be in noncompliance with the FCRA’s clear
21                  and unambiguous requirements.
22          71.     Plaintiff and the Lowe’s Class seek damages under 15 U.S.C. § 1681n, et
23   seq. Indeed, Plaintiff and the Lowe’s Class are entitled to statutory damages of not less
24   than $100 and not more than $1,000 for each of Defendant’s willful violations pursuant
25   to 15 U.S.C. § 1681n(a)(1)(A).
26          72.     In the alternative, Plaintiff and the Lowe’s Class seek actual damages under
27
     15 U.S.C. § 1681o, et seq. Lowe’s acted negligently by failing to provide a disclosure
28

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 1   that was clear and conspicuous. Had Lowe’s provided a clear and conspicuous disclosure,
 2   Plaintiff and the class members would not have authorized the procurement of their
 3   reports. As such, Lowe’s breached its duty of care to Plaintiff and the Lowe’s Class and
 4   this breach is the direct and proximate cause of Plaintiff’s and the class members’
 5   damages. Plaintiff seeks actual damages in an amount to be proven at trial or, at a
 6   minimum, seeks nominal damages.
 7
            73.      Accordingly, under the FCRA, Plaintiff and the Lowe’s Class seek
 8
     statutory damages, reasonable cost and attorneys’ fees, pre- and post-judgment interest,
 9
     and such other relief as the Court deems necessary, reasonable, and just.
10
                                            COUNT III
11                            Violation of 15 U.S.C. § 1681e, et seq.
12                     (On Behalf of Plaintiff and the First Advantage Class)
            74.      Plaintiff incorporates by reference the foregoing allegations as if fully set
13
     forth herein.
14
            75.      First Advantage is a “person” and a “consumer reporting agency” as
15
     defined by 15 U.S.C. § 1681a(b) and (f).
16
            76.      Plaintiff and members of the First Advantage Class are “consumers” as that
17
     term is defined by 15 U.S.C. § 1681a(c).
18
            77.      The FCRA declares that “[w]henever a consumer reporting agency prepares
19
     a consumer report it shall follow reasonable procedures to assure maximum possible
20
     accuracy of the information concerning the individual about whom the report relates.” 15
21
     U.S.C. § 1681e(b).
22
            78.      First Advantage prepared inaccurate and materially misleading consumer
23
     reports relating to Plaintiff’s prior criminal history, which had a negative impact on his
24
     employment opportunities.
25
            79.      In preparing the report, First Advantage failed to follow reasonable
26
     procedures to assure the maximum possible accuracy of the information contained in the
27
     report. Indeed, First Advantage furnished a report containing three prior criminal
28

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 1   convictions with the disposition stated as “guilty”. This was inaccurate.
 2          80.    While Plaintiff pleaded guilty to the three charges between 2006 and 2009,
 3   he has since taken steps to rehabilitate his standing in his community such that the
 4   disposition is no longer “guilty”.
 5          81.    On November 24, 2020, the Navajo County Superior Court issued an Order
 6   setting aside Plaintiff’s judgments of guilt (see Ex. B), which restored Plaintiff’s civil
 7   rights under Arizona law pursuant to A.R.S. § 13-905. The Order setting aside the
 8   judgments of guilt were made publicly available at
 9   https://apps.supremecourt.az.gov/publicaccess/minutes.aspx.
10          82.    The judgments setting aside guilt are not the same as a criminal conviction.
11   Rather, when a court sets aside a criminal conviction pursuant to A.R.S. § 13-905 and
12   includes a certificate of second chance, the individual’s civil rights are restored, including
13   occupational rights. The restoration of rights includes the release of the individual from
14   all barriers and disabilities in obtaining occupational licenses issued under Arizona Title
15   32. See A.R.S. § 13-905(K). Further, Arizona law provides potential employers with
16   protection should they choose to hire individuals that have had their convictions set aside.
17   Id.; see also A.R.S. § 12-558.03, et seq.
18          83.    By failing to inform potential employers that a prior conviction was set
19   aside, First Advantage robs employers of critical information to make an informed
20   decision regarding potential applicants and the potential risks associated with hiring
21   applicants.
22          84.    By failing to adopt adequate procedures, First Advantage caused Plaintiff
23   and the class members actual harm by preparing and providing inaccurate and materially
24   misleading consume reports to third parties.
25          85.    On information and belief, First Advantage has prepared more than one
26   report regarding Plaintiff that contained the same inaccurate information.
27          86.    On information and belief, First Advantage’s inclusion of the “guilty”
28   disposition on Plaintiff’s consumer report violated its own written policies and

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 1   procedures to ensure the maximum possible accuracy of the information contained in
 2   consumer reports.
 3          87.     Pursuant to 15 U.S.C. § 1681o, et seq. and 15 U.S.C. § 1681n, et seq., First
 4   Advantage is liable to Plaintiff and the First Advantage Class for failing to implement
 5   and follow reasonable procedures to assure the maximum possible accuracy of Plaintiff’s
 6   and the class members’ consumer reports in violation of 15 U.S.C. § 1681e(b).
 7          88.     Defendant’s violation of 15 U.S.C. § 1681e(b) was willful for at least the
 8   following reasons:
 9          (i)     The rule that consumer reporting agencies must implement and follow
10                  reasonable procedures to assure the maximum possible accuracy of
                    the information contained in consumer reports has been the law
11                  established for decades;
12          (ii)    On information and belief, First Advantage adopted and then failed to
13                  follow its own written policies and procedures to ensure the maximum
                    possible accuracy of the information contained in consumer reports;
14
            (iii)   First Advantage commenced the search for Plaintiff’s criminal history
15                  on February 26, 2022 and completed the report on March 2, 2022.
                    Hence, ample time existed for First Advantage to ensure that the
16
                    criminal convictions were reported accurately;
17
            (iv)    The report prepared by First Advantage regarding Plaintiff noted that
18                  “Research [was] In Progress” for four days and further noted that
                    “Additional handling [was] required” with respect to Plaintiff’s
19
                    criminal history. Despite this additional research and handling, First
20                  Advantage failed to report Plaintiff’s or the class members’ criminal
                    convictions accurately;
21
            (v)     The Order setting aside Plaintiff’s judgment of guilt and restoring his
22                  civil rights has been publicly available for over a year at the time the
23                  report was furnished;
24          (vi)    First Advantage is a large corporation who regularly engages inside
                    and outside counsel—it had ample means and opportunity to seek
25                  legal advice regarding its FCRA responsibilities. As such, any
26                  violations were made in conscious disregard of the rights of others;

27          (vii)   First Advantage describes itself as a leader in the background
                    reporting industry with respect to employment related consumer
28                  reports;

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            (viii) First Advantage regularly furnishes consumer reports to businesses,
 1
                   such as Lowe’s, for the purpose of making employment related
 2                 decisions. Accordingly, First Advantage’s failure to implement
                   reasonable procedures had a widespread effect; and
 3
            (ix)     First Advantage profited off the sale of Plaintiff’s and the class
 4
                     members’ consumer reports containing incomplete and outdated
 5                   information on a repeated basis.
 6          89.      Plaintiff and the First Advantage Class seek damages under 15 U.S.C. §
 7   1681n, et seq. Indeed, Plaintiff and the First Advantage Class are entitled to statutory
 8   damages of not less than $100 and not more than $1,000 for each of Defendant’s willful
 9   violations pursuant to 15 U.S.C. § 1681n(a)(1)(A).
10          90.      In the alternative, Plaintiff and the First Advantage Class seek actual
11   damages under 15 U.S.C. § 1681o, et seq. First Advantage acted negligently by failing to
12   adopt reasonable procedures to ensure the maximum possible accuracy of information
13   contained in consumer reports. As such, First Advantage breached its duty of care to
14   Plaintiff and the First Advantage Class and this breach is the direct and proximate cause
15
     of Plaintiff’s and the class members’ damages. Plaintiff seeks actual damages in an
16
     amount to be proven at trial or, at a minimum, seeks nominal damages.
17
            91.      Accordingly, under the FCRA, Plaintiff and the First Advantage Class seek
18
     statutory damages, reasonable cost and attorneys’ fees, pre- and post-judgment interest
19
     and such other relief as the Court deems necessary, reasonable, and just.
20
                                            COUNT IV
21                            Violation of 15 U.S.C. § 1681k, et seq.
22                     (On Behalf of Plaintiff and the First Advantage Class)

23          92.      Plaintiff incorporates by reference the foregoing allegations as if fully set

24   forth herein.

25          93.      First Advantage is a “person” and a “consumer reporting agency” as

26   defined by 15 U.S.C. § 1681a(b) and (f).

27          94.      Plaintiff and members of the First Advantage Class are “consumers” as that

28   term is defined by 15 U.S.C. § 1681a(c).

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 1          95.    The FCRA declares that:
 2          A consumer reporting agency which furnishes a consumer report for
            employment purposes and which for that purpose compiles and reports items
 3          of information on consumers which are matters of public record and are
 4          likely to have an adverse effect upon a consumer's ability to obtain
            employment shall--
 5
                   (1) at the time such public record information is reported to the
 6
                   user of such consumer report, notify the consumer of the fact
 7                 that public record information is being reported by the
                   consumer reporting agency, together with the name and
 8                 address of the person to whom such information is being
 9                 reported; or
10                 (2) maintain strict procedures designed to insure that whenever
                   public record information which is likely to have an adverse
11
                   effect on a consumer's ability to obtain employment is reported
12                 it is complete and up to date. For purposes of this paragraph,
                   items of public record relating to arrests, indictments,
13                 convictions, suits, tax liens, and outstanding judgments shall
14                 be considered up to date if the current public record status of
                   the item at the time of the report is reported.
15
     15 U.S.C. § 1681k(a) (emphasis added).
16
            96.    First Advantage furnished consumer reports regarding Plaintiff and the
17
     First Advantage Class for employment purposes that possessed information on consumers
18
     that were likely to have an adverse effect upon a consumer’s ability to obtain
19
     employment.
20
            97.    First Advantage violated Section 1681k(a)(2) by failing to adopt strict
21
     procures designed to insure that public record information that is likely to have an
22
     adverse effect on a consumer’s ability to obtain employment is complete and up to date.
23
            98.    First Advantage also failed to provide Plaintiff and the First Advantage
24
     Class with notice that First Advantage was reporting public record information to
25
     potential employers that was likely to have an adverse effect on the ability of Plaintiff
26
     and the First Advantage Class to obtain employment. Further, First Advantage failed to
27
     provide Plaintiff or the other members of the First Advantage Class with the name and
28

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 1   address of the person to whom such information was being reported.
 2          99.    Criminal convictions or information showing “guilty” with respect to
 3   crimes is likely to have an adverse effect on a consumer’s ability to obtain employment.
 4          100.   Here, First Advantage reported the disposition of past criminal convictions
 5   for Plaintiff and the Class as “guilty”. This was inaccurate. Records of past criminal
 6   convictions are public records under the FCRA. At the time the report was furnished, the
 7   convictions were set aside and Plaintiff’s and the class members’ civil rights were
 8   restored pursuant to A.R.S. § 13-905.
 9          101.   By publishing past criminal convictions without their current disposition,
10   First Advantage reported adverse public information that was not complete or up to date.
11          102.   First Advantage failed to adopt strict procedures to ensure that criminal
12   convictions are reported with the current disposition. This constitutes a willful violation
13   of Section 1681k(a)(2).
14          103.   On information and belief, First Advantage’s failure to report that the
15   criminal convictions were set aside and that civil rights were restored violated its own
16   written policies and procedures to ensure that information contained in consumer reports
17   is complete and up to date.
18          104.   By failing to adopt strict procedures or provide any notice, First Advantage
19   harmed applicant and employees by conveying inaccurate information regarding their
20   criminal history to third parties and deprived applicants and employees of the ability to
21   address any inaccurate or incomplete information contained within the consumer report
22   prior to the employer’s decision regarding the information.
23          105.   Pursuant to 15 U.S.C. § 1681o, et seq. and 15 U.S.C. § 1681n, et seq., First
24   Advantage is liable to Plaintiff and the First Advantage Class for failing to provide notice
25   that potentially adverse public record information was being reported or by failing to
26   implement and follow strict procedures to ensure that information contained in Plaintiff’s
27   and the class members’ consumer reports that was likely to adversely impact their ability
28   to obtain or keep employment was complete and up to date in violation of 15 U.S.C. §

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 1   1681k(a)(2).
 2          106.    First Advantage’s violation of 15 U.S.C. § 1681k(a)(2) was willful for at
 3   least the following reasons:
 4          (i)     The rule that consumer reporting agencies must implement and follow
 5                  strict procedures to insure that potentially adverse public record
                    information contained in consumer reports must be complete and up
 6                  to date has been the law established for decades;
 7          (ii)    The rule that consumer reporting agencies provide notice that
 8                  potentially adverse public record information is being reported by a
                    consumer reporting agency has been the law established for decades;
 9
            (iii)   On information and belief, First Advantage adopted and then failed to
10                  follow its own written policies and procedures to ensure that
                    information contained in consumer reports is complete and up to date;
11
            (iv)    First Advantage commenced the search for Plaintiff’s criminal history
12
                    on February 26, 2022 and completed the report on March 2, 2022.
13                  Hence, ample time existed for First Advantage to ensure that the
                    criminal convictions were up to date and complete;
14
            (v)     The report prepared by First Advantage regarding Plaintiff noted that
15
                    “Research [was] In Progress” for four days and further noted that
16                  “Additional handling [was] required” with respect to Plaintiff’s
                    criminal history;
17
            (vi)    The Order setting aside Plaintiff’s judgment of guilt and restoring his
18                  civil rights has been publicly available for over a year at the time the
19                  report was furnished;
20          (vii)   First Advantage is a large corporation who regularly engages inside
                    and outside counsel—it had ample means and opportunity to seek
21                  legal advice regarding its FCRA responsibilities. As such, any
22                  violations were made in conscious disregard of the rights of others;

23          (viii) First Advantage describes itself as a leader in the background
                   reporting industry with respect to employment related consumer
24                 reports;
25          (ix)    First Advantage regularly furnishes consumer reports to businesses,
26                  such as Lowe’s, for the purpose of making employment related
                    decisions. Accordingly, First Advantage’s failure to implement
27                  reasonable procedures had a wide spread effect; and
28

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            (x)    First Advantage profited off the sale of Plaintiff’s and the class
 1
                   members’ consumer reports containing incomplete and outdated
 2                 information on a repeated basis.
 3          107.   Plaintiff and the First Advantage Class seek damages under 15 U.S.C. §
 4   1681n, et seq. Plaintiff and the First Advantage Class are entitled to statutory damages of
 5   not less than $100 and not more than $1,000 for each of Defendant’s willful violations
 6   pursuant to 15 U.S.C. § 1681n(a)(1)(A).
 7          108.   In the alternative, Plaintiff and the First Advantage Class seek actual
 8   damages under 15 U.S.C. § 1681o, et seq. First Advantage acted negligently by failing to
 9   adopt strict procedures to insure that adverse public record information is complete and
10   up to date. As such, First Advantage breached its duty of care to Plaintiff and the First
11   Advantage Class and this breach is the direct and proximate cause of Plaintiff’s and the
12   class members’ damages. Plaintiff seeks actual damages in an amount to be proven at
13   trial or, at a minimum, seeks nominal damages.
14          109.   Accordingly, under the FCRA, Plaintiff and the First Advantage Class seek
15   statutory damages, reasonable cost and attorneys’ fees, pre- and post-judgment interest,
16   and such other relief as the Court deems necessary, reasonable, and just.
17                                      PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff Justin Downing, individually and on behalf of the
19   Classes, respectfully requests that this Court issue an order of judgment:
20          A.     Certifying this case as a class action on behalf of the Classes defined above,
21                 appointing Justin Downing as class representative and appointing his
22                 counsel as class counsel;
23          B.     Finding that Defendants’ actions constitute a violation of the FCRA;
24          C.     Finding that Defendants’ actions constitute a willful violation of the FCRA;
25          D.     Awarding damages, including statutory damages where applicable, to
26                 Plaintiff and the Classes in amounts to be determined at trial;
27          E.     Awarding Plaintiff and the Classes their reasonable litigation expenses and
28                 attorneys’ fees;

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 1         F.     Awarding Plaintiff and the Classes pre- and post- judgment interest, to the
 2                extent allowable; and
 3         G.     Such further and other relief as the Court deems reasonable and just.
 4                                        JURY DEMAND
 5         Plaintiff requests a trial by jury of all claims that can be so tried.
 6
 7                                              Respectfully submitted,
 8   Dated: October 27, 2022                    JUSTIN DOWNING, individually and on
 9                                              behalf of all others similarly situated,

10
                                         By:      /s/ Taylor T. Smith
11                                              One of Plaintiff’s Attorneys
12                                              Penny L. Koepke
13                                              pkoepke@hoalow.biz
                                                MAXWELL & MORGAN, P.C.
14                                              4854 E. Baseline Road, Suite 104
                                                Mesa, Arizona 85206
15                                              Tel: (480) 833-1001

16                                              Steven L. Woodrow (admitted pro hac vice)
                                                  swoodrow@woodrowpeluso.com
17                                              Patrick H. Peluso (admitted pro hac vice)
                                                  ppeluso@woodrowpeluso.com
18                                              Taylor T. Smith (admitted pro hac vice)
                                                  tsmith@woodrowpeluso.com
19                                              Woodrow & Peluso, LLC
                                                3900 East Mexico Avenue, Suite 300
20                                              Denver, Colorado 80210
                                                Telephone: (720) 907-7628
21                                              Facsimile: (303) 927-0809
22                                              Counsel for Plaintiff
23
24
25
26
27
28

                                               - 26 -

                                                                                          ER-54
     Case 3:22-cv-08159-SPL Document 11 Filed 10/27/22 Page 27 of 27




 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and accurate copy of the above titled
 3   document was served upon counsel of record by filing such papers via the Court’s ECF
 4   system on October 27, 2022.
                                              /s/ Taylor T. Smith
 5
 6
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               Exhibit A




                                                                ER-56
                         Case 3:22-cv-08159-SPL Document 13 Filed 11/03/22 Page 2 of 5
                                                               eSignature Consent Form

Consent to Use Electronic Signature
By selecting the "Yes" option below, I hereby consent to the use of my electronic signature to execute the Authorization Form, which will appear on the
following screen. I understand that my electronic signature will have the same legal effect, validity and enforceability as if I were to execute by handwritten
signature. If I do not wish to have my electronic signature to have a binding effect, I must select "No" option below.

Right to Entering into Agreement in Non-Electronic Form
I understand that I have the right to agree to the Authorization Form on paper and to execute the Authorization Form by handwritten signature. In order to
provide it in written form, I can print and upload the form in the Document Upload section upon completing my profile.

Withdrawing My Consent and Updating Information
I understand that I have the right to withdraw my consent to use electronic signature and the right to update my contact information at any time. If I decide
at any point to withdraw my consent, I understand that the withdrawal is only prospective and shall not impact the legal effectiveness, validity or
enforceability of the Authorization Form prior to the implementation of my request withdrawal. The effectiveness of the withdrawal will be within a
reasonable period of time after receipt of the withdrawal. If I withdraw during the period where a screening service is in the process of being fulfilled or
ordered, it may impact my application for employment, contract work or other purpose.

If I decide at any point to withdraw my consent, I may call First Advantage at (+1) 800-845-6004, or provide a signed letter via mail to the address below:
First Advantage Background Services Corp.
Consumer Center
P.O. Box 105292
Atlanta, GA 30348
Applicants based in South Asia and Pacific region (including Hong Kong, Singapore, Australia, New Zealand, Philippines and Malaysia) may instead
contact the Compliance & Privacy Manager at Privacy.sapac@fadv.com or (+61) 2 9017 4300.

Requesting a Paper Copy of My Electronic Record
Upon request, I may obtain a paper copy of the Authorization Form by clicking ‘print’ before submitting. Additionally, I may call, mail a request, or email via
the contact information shown above.




I have read and accept the eSignature terms outlined above.                                                      Yes

Date                                                                                                             February 26, 2022




                                                                           Consent

Lowe's Background Check Acknowledgement

I acknowledge that under certain circumstances, a full background check may be delayed. I understand

my employment may begin without the full background check results being available. If after my start date,

my background check is not approved, I understand and acknowledge that Lowe's will terminate my employment.



I have read and accept the terms outlined above.                                                                 Yes

Date                                                                                                             February 26, 2022




                                                                         Disclosure

DISCLOSURE REGARDING BACKGROUND REPORT

Lowe's Companies, Inc. and/or its affiliates, including Lowe's Home Centers, LLC, ("Lowe's") may obtain a "background report" about you or your
child/ward for employment purposes from a third-party consumer reporting agency. "Background report" means any written, oral, or other communication of
any information by a consumer reporting agency bearing on your or your child's/ward's credit worthiness, credit standing, credit capacity, character, general
reputation, personal characteristics, or mode of living. The reports may include information regarding your or your child's/ward's history, criminal history,
social security verification, motor vehicle records, verification of your education or employment history, or other background check results.




Downing, Justin Andrew (X5T4LLNJXC)                                      Page 2 of 8                                        February 26, 2022 1:08:48 PM EST

                                                                                                                                                      ER-57
                         Case 3:22-cv-08159-SPL Document 13 Filed 11/03/22 Page 3 of 5
Lowe's will not request any information related to your or your child's/ward's worthiness, credit standing, or credit capacity without providing you or your
child/ward, separately, with information related to the use of that information and obtaining separate authorization from you to obtain such information,
where required.




Date                                                                                                             February 26, 2022




                                                                         Disclosure

DISCLOSURE REGARDING INVESTIGATIVE BACKGROUND REPORT

Lowe's Companies, Inc. and/or its affiliates, including Lowe's Home Centers, LLC, ("Lowe's") may obtain for employment purposes an "investigative
background report" about you or your child/ward including information as to your character, general reputation, personal characteristics and mode of living.
"Investigative background report" means a background report or portion thereof in which information on your or your child's/ward's character, general
reputation, personal characteristics, or mode of living is obtained through personal interviews with your or your child's/ward's neighbors, friends, or
associates or with others with whom you or your child/ward are acquainted or who may have knowledge concerning your or your child's/ward's character,
general reputation, personal characteristics, and/or mode of living.

You or your child/ward have the right, upon written request made within a reasonable time after receipt of this notice, to request a complete and accurate
disclosure of the nature and scope of any investigative background report requested about you or your child/ward.

Along with this disclosure, you are being provided with a copy of A Summary of Your Rights under the Fair Credit Reporting Act.

Please be advised that the nature and scope of the most common form of investigative background report obtained with regard to applicants for
employment is an investigation into your or your child's/ward's education and/or employment history conducted by First Advantage Consumer Disclosure
Center located at P.O. Box 105292, Atlanta, GA, 30348 phone: 1-800-845-6004.




Date                                                                                                             February 26, 2022




                                                                         Disclosure

FOR APPLICANTS TO LOCATIONS IN THE STATE OF WASHINGTON, PLEASE REVIEW THE SECTION "A SUMMARY OF YOUR RIGHTS UNDER
THE WASHINGTON FAIR CREDIT REPORTING ACT"

Para informacion en espanol, visite https://www.consumerfinance.gov/learnmore o escribe a la Consumer Financial Protection Bureau, 1700 G Street
N.W., Washington, DC 20006.

A Summary of Your Rights Under the Fair Credit Reporting Act

The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and privacy of information in the files of consumer reporting agencies.
There are many types of consumer reporting agencies, including credit bureaus and specialty agencies (such as agencies that sell information about check
writing histories, medical records, and rental history records). Here is a summary of your major rights under the FCRA. For more information, including
information about additional rights, go to https://www.consumerfinance.gov/learnmore or write to: Consumer Financial Protection Bureau, 1700 G Street
N.W., Washington, DC 20552.

  • You must be told if information in your file has been used against you. Anyone who uses a credit report or another type of consumer report to deny your
application for credit, insurance, or employment - or to take another adverse action against you - must tell you, and must give you the name, address, and
phone number of the agency that provided the information.

   • You have the right to know what is in your file. You may request and obtain all the information about you in the files of a consumer reporting agency
(your "file disclosure"). You will be required to provide proper identification, which may include your Social Security number. In many cases, the disclosure
will be free. You are entitled to a free file disclosure if:
      • a person has taken adverse action against you because of information in your credit report;
      • you are the victim of identify theft and place a fraud alert in your file;
      • your file contains inaccurate information as a result of fraud;
      • you are on public assistance;
      • you are unemployed but expect to apply for employment within 60 days.
   In addition, all consumers are entitled to one free disclosure every 12 months upon request from each nationwide credit bureau and from nationwide
specialty consumer reporting agencies. See https://www.consumerfinance.gov/learnmore for additional information.




Downing, Justin Andrew (X5T4LLNJXC)                                      Page 3 of 8                                        February 26, 2022 1:08:48 PM EST

                                                                                                                                                      ER-58
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               Exhibit B




                                                                ER-59
                 Case 3:22-cv-08159-SPL Document 13 Filed 11/03/22 Page 5 of 5
                                                                                          Filed on 12/7/2020 8:48:58 AM

                                                                                     Navajo County Superior Court
                                                                                        Deanne M. Romo, Clerk




                           IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                                   IN AND FOR THE COUNTY OF NAVAJO


 JUDGE:                   DALE P. NIELSON                     DIVISION:       III
 CLERK:                   DEANNE M. ROMO                      DATE:           11/24/2020
 DEPUTY CLERK:            SNW                                 TIME:           9:30 A.M.
 COURT REPORTER:          Kelly Palmer


                                                 MINUTE ENTRY


 THE STATE OF ARIZONA,

             Plaintiff,
                                                          Case No. S0900CR20060047
 Vs.                                                               S0900CR20060048
                                                                   S0900CR20090508
 JUSTIN ANDREW DOWNING,

             Defendant.


                                 HEARING ON THE MOTION TO SET ASIDE

       This is the date set for a hearing on the Motion to Set Aside. The record shall reflect the presence of the
Defendant.
       The Court noted for the record several attempts have been made to reach the County Attorney. The
Court further noted there was no information from the County Attorney regarding the Defendant’s Motion to
Set Aside.
       The Defendant was sworn, presented testimony and answered questions of the Court.
       IT IS ORDERED granting the Motion to Set Aside Judgments of Guilt to include the restoration of the
Defendant’s civil rights and his right to own firearms.
       Hearing adjourned at 9:33 A.M.




Copies to: NCAO, Justin Downing, Case Flow Manager, NCSO




                                                                                                               ER-60
       Case 3:22-cv-08159-SPL Document 43 Filed 08/14/23 Page 1 of 4



     Penny L. Koepke
 1   pkoepke@hoalaw.biz
 2   MAXWELL & MORGAN, P.C.
     4854 E. Baseline Road, Suite 104
 3   Mesa, Arizona 85206
     Tel: (480) 833-1001
 4
     [Additional counsel appearing on signature page]
 5
     Attorneys for Plaintiff and the Classes
 6
 7
                              UNITED STATES DISTRICT COURT
 8                                DISTRICT OF ARIZONA
 9    Justin Downing, individually and on
10    behalf of all others similarly situated,         Case No. 3:22-cv-08159-SPL
11                          Plaintiff,                 NOTICE OF APPEAL
12
      v.                                               Complaint filed: September 8, 2022
13
14    Lowe's Home Centers, LLC, a North
      Carolina limited liability company, and
15    First Advantage Corporation, a Delaware
16    corporation,

17                          Defendants.
18
19          Pursuant to Federal Rules of Appellate Procedure 3 and 4, notice is hereby given
20   that Plaintiff Justin Downing (“Plaintiff” or “Downing”) appeals to the United States
21   Court of Appeals for the Ninth Circuit from the district court’s amended Fed. R. Civ. P.
22   54(b) Judgment entered on August 2, 2023 (dkt. 38), following the district court’s June
23   20, 2023, Order granting Defendant Lowe’s Home Centers, LLC’s motion to dismiss
24   (dkt. 29).
25
26   Dated: August 14, 2023                      JUSTIN DOWNING, individually and on
                                                 behalf of all others similarly situated,
27
                                                 By: /s/ Taylor T. Smith
28                                               One of Plaintiff’s Attorneys


                                                   1
                                                                                         ER-61
     Case 3:22-cv-08159-SPL Document 43 Filed 08/14/23 Page 2 of 4




 1                                    Penny L. Koepke
 2                                    pkoepke@hoalaw.biz
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                                      Mesa, Arizona 85206
 4                                    Tel: (480) 833-1001
 5                                    Steven L. Woodrow (admitted pro hac vice)
                                      swoodrow@woodrowpeluso.com
 6                                    Patrick H. Peluso (admitted pro hac vice)
                                      ppeluso@woodrowpeluso.com
 7                                    Taylor T. Smith (admitted pro hac vice)
                                      tsmith@woodrowpeluso.com
 8                                    WOODROW & PELUSO, LLC
                                      3900 E. Mexico Ave., Suite 300
 9                                    Denver, CO 80210
                                      Telephone: (720) 213-0675
10                                    Facsimile: (303) 927-0809
11                                    Attorneys for Plaintiff and the Putative Class
12
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         Case 3:22-cv-08159-SPL Document 43 Filed 08/14/23 Page 3 of 4




 1                             REPRESENTATION STATEMENT
 2         Plaintiff-Appellant, Justin Downing, individually and on behalf of all others

 3   similarly situated, hereby submits the following Representation Statement:

 4
 5     PARTIES                                          COUNSEL OF RECORD
       Plaintiff-Appellant Justin Downing,              Steven L. Woodrow*
 6     individually and on behalf of all others         Email: swoodrow@woodrowpeluso.com
 7     similarly situated                               Patrick H. Peluso*
                                                        Email: ppeluso@woodrowpeluso.com
 8                                                      Taylor T. Smith*
                                                        Email: tsmith@woodrowpeluso.com
 9
                                                        WOODROW & PELUSO, LLC
10                                                      3900 East Mexico Avenue, Suite 300
                                                        Denver, Colorado 80210
11                                                      Telephone: (720) 907-7628
12                                                      Facsimile: (303) 927-0809

13                                                      *Pro Hac Vice
       Defendant-Appellee Lowe’s Home                   Walker F. Crowson
14
       Centers, LLC                                     SNELL & WILMER L.L.P.
15                                                      One East Washington Street, Suite 2700
                                                        Phoenix, Arizona 85004-2202
16                                                      Telephone: 602.382.6000
17                                                      Facsimile: 602.382.6070
                                                        wcrowson@swlaw.com
18
                                                        Jason C. Schwartz (pro hac vice)
19                                                      Molly T. Senger (pro hac vice)
20                                                      David A. Schnitzer (pro hac vice)
                                                        Matt Gregory (pro hac vice)
21                                                      Gibson, Dunn & Crutcher LLP
22                                                      1050 Connecticut Avenue, NW
                                                        Washington, D.C. 20036-5306
23                                                      Telephone: 202.955.8500
                                                        Facsimile: 202.467.0539
24                                                      jschwartz@gibsondunn.com
25                                                      msenger@gibsondunn.com
                                                        dschnitzer@gibsondunn.com
26                                                      mgregory@gibsondunn.com
27
28
      NOTICE OF APPEAL                            -3-
                                                                                                 ER-63
          Case 3:22-cv-08159-SPL Document 43 Filed 08/14/23 Page 4 of 4




 1                                 CERTIFICATE OF SERVICE
 2          I am a resident of the State of Colorado, over the age of eighteen years old, and am

 3   not a party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300,

 4   Denver, Colorado 80210. I HEREBY CERTIFY that on the 14th day of August 2023, I

 5   filed the foregoing NOTICE OF APPEAL electronically through the CM/ECF system,

 6   which caused the following parties or counsel to be served by electronic means, as more
     fully reflected on the Notice of Electronic Filing:
 7
 8                                      Walker F. Crowson
                                    SNELL & WILMER L.L.P.
 9                             One East Washington Street, Suite 2700
10                                 Phoenix, Arizona 85004-2202
                                     Telephone: 602.382.6000
11                                   Facsimile: 602.382.6070
12                                    wcrowson@swlaw.com

13                                 Jason C. Schwartz (pro hac vice)
                                    Molly T. Senger (pro hac vice)
14                                 David A. Schnitzer (pro hac vice)
15                                   Matt Gregory (pro hac vice)
                                    Gibson, Dunn & Crutcher LLP
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                                       Telephone: 202.955.8500
18                                     Facsimile: 202.467.0539
                                     jschwartz@gibsondunn.com
19                                    msenger@gibsondunn.com
20                                   dschnitzer@gibsondunn.com
                                     mgregory@gibsondunn.com
21
            Attorneys for Defendant Lowe’s Home Centers, LLC
22
23          I declare that the foregoing is true and correct.
24
25                                              /s/ Taylor T. Smith

26
27
28
      NOTICE OF APPEAL                          -4-
                                                                                             ER-64
                                                                                           APPEAL,STD
                                 U.S. District Court
                       DISTRICT OF ARIZONA (Prescott Division)
                    CIVIL DOCKET FOR CASE #: 3:22−cv−08159−SPL

Downing v. Lowe's Companies Incorporated et al                 Date Filed: 09/08/2022
Assigned to: Judge Steven P Logan                              Jury Demand: Plaintiff
Case in other court: Ninth Circuit, 23−16102                   Nature of Suit: 890 Other Statutes: Other
Cause: 15:1681 Fair Credit Reporting Act                       Statutory Actions
                                                               Jurisdiction: Federal Question
Plaintiff
Justin Downing                                   represented by Patrick H Peluso
individually and on behalf of all others                        Woodrow & Peluso LLC
similarly situated                                              3900 E Mexico Ave., Ste. 300
                                                                Denver, CO 80210
                                                                720−213−0676
                                                                Fax: 303−927−0809
                                                                Email: ppeluso@woodrowpeluso.com
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                               Penny L Koepke
                                                               Maxwell & Morgan PC
                                                               Pierpont Commerce Center
                                                               4854 E Baseline Rd., Ste. 104
                                                               Mesa, AZ 85206
                                                               480−833−1001
                                                               Fax: 480−969−8267
                                                               Email: pkoepke@hoalaw.biz
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Steven L Woodrow
                                                               Woodrow & Peluso LLC
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                                                               Denver, CO 80210
                                                               720−213−0675
                                                               Fax: 303−927−0809
                                                               Email: swoodrow@woodrowpeluso.com
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Taylor True Smith
                                                               Woodrow & Peluso LLC
                                                               3900 E Mexico Ave., Ste. 300
                                                               Denver, CO 80210
                                                               720−907−7628
                                                               Fax: 303−927−0809
                                                               Email: tsmith@woodrowpeluso.com
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
Lowe's Home Centers LLC                          represented by David A Schnitzer
a North Carolina limited liability                              Gibson Dunn & Crutcher LLP −
company                                                         Washington, DC

                                                                                                   ER-65
TERMINATED: 06/20/2023                              1050 Connecticut Ave. NW, Ste. 900
                                                    Washington, DC 20036
                                                    202−887−3775
                                                    Email: dschnitzer@gibsondunn.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Jason Schwartz
                                                    Gibson Dunn & Crutcher LLP −
                                                    Washington, DC
                                                    1050 Connecticut Ave. NW, Ste. 900
                                                    Washington, DC 20036
                                                    202−955−8500
                                                    Email: JSchwartz@gibsondunn.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Matthew Gregory
                                                    Gibson Dunn & Crutcher LLP −
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                                                    202−887−3635
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                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Molly Senger
                                                    Gibson Dunn & Crutcher LLP −
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                                                    Washington, DC 20036
                                                    202−955−8571
                                                    Email: msenger@gibsondunn.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Walker Field Crowson
                                                    Snell & Wilmer LLP − Phoenix, AZ
                                                    1 E Washington St., Ste. 2700
                                                    Phoenix, AZ 85004
                                                    602−382−6298
                                                    Fax: 602−382−6070
                                                    Email: wcrowson@swlaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Defendant
First Advantage Background Services   represented by Edward P Cadagin
Corporation                                          Arnall Golden & Gregory LLP − Atlanta,
a Florida corporation                                GA
                                                     171 17th St. NW, Ste. 2100
                                                     Atlanta, GA 30363
                                                     404−873−8582
                                                     Fax: 404−873−8583
                                                     Email: edward.cadagin@agg.com
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED


                                                                                       ER-66
                                            Henry Chalmers
                                            Arnall Golden & Gregory LLP − Atlanta,
                                            GA
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                                            LEAD ATTORNEY
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Mandi Jean Karvis
                                            Wicker Smith OHara McCoy & Ford PA
                                            1 N Central Ave., Ste. 860
                                            Phoenix, AZ 85004
                                            602−648−2240
                                            Fax: 602−812−4986
                                            Email: mkarvis@wickersmith.com
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

Defendant
Lowe's Companies Incorporated   represented by Jason Schwartz
a North Carolina corporation                   (See above for address)
TERMINATED: 10/27/2022                         LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                            Walker Field Crowson
                                            (See above for address)
                                            ATTORNEY TO BE NOTICED

Defendant
First Advantage Corporation     represented by Edward P Cadagin
a Delaware corporation                         (See above for address)
TERMINATED: 08/31/2023                         LEAD ATTORNEY
                                               PRO HAC VICE
                                               ATTORNEY TO BE NOTICED

                                            Henry Chalmers
                                            (See above for address)
                                            LEAD ATTORNEY
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED

                                            Mandi Jean Karvis
                                            (See above for address)
                                            LEAD ATTORNEY
                                            ATTORNEY TO BE NOTICED

                                            Natalie Cascario
                                            Amall Golden Gregory LLP
                                            171 17th St. NW, Ste. 2100
                                            Atlanta, GA 30363
                                            404−873−8605
                                            Email: natalie.cascario@agg.com
                                            LEAD ATTORNEY
                                            PRO HAC VICE
                                            ATTORNEY TO BE NOTICED


Date Filed    #   Docket Text



                                                                              ER-67
09/08/2022    1 COMPLAINT. Filing fee received: $402.00, receipt number AAZDC−21079171 filed
                by Justin Downing. (Koepke, Penny) (Attachments: # 1 Civil Cover Sheet)(BAC)
                (Entered: 09/08/2022)
09/08/2022    2 SUMMONS Submitted by Justin Downing. (Koepke, Penny) (Attachments: # 1
                Summons)(BAC) (Entered: 09/08/2022)
09/08/2022    3 Filing fee paid, receipt number AAZDC−21079171. This case has been assigned to the
                Honorable Steven P Logan. All future pleadings or documents should bear the correct
                case number: CV−22−08159−PCT−SPL. Notice of Availability of Magistrate Judge to
                Exercise Jurisdiction form attached. (BAC) (Entered: 09/08/2022)
09/08/2022    4 Summons Issued as to First Advantage Corporation, Lowe's Companies Incorporated.
                (Attachments: # 1 Summons)(BAC). *** IMPORTANT: When printing the summons,
                select "Document and stamps" or "Document and comments" for the seal to appear on
                the document. (Entered: 09/08/2022)
09/08/2022    5 NOTICE TO FILER OF DEFICIENCY re: 1 Complaint filed by Justin Downing.
                Document not in compliance with LRCiv 7.1(c) − Documents shall be converted to
                PDF directly from a word processing program and per Administrative Policies and
                Procedures Manual must be text searchable. No further action is required. This is a
                TEXT ENTRY ONLY. There is no PDF document associated with this entry. (BAC)
                (Entered: 09/08/2022)
09/08/2022    6 PRELIMINARY ORDER: Both counsel and pro se litigants must abide by the Local
                Rules of Civil Procedure, Rules of Practice of the U.S. District Court for the District of
                Arizona, and the Federal Rules of Civil Procedure. Plaintiff(s) must file proof of
                service of the summons and complaint or of waiver of service with the Clerk of Court
                no later than 12/7/2022 and must promptly serve a copy of this Order on Defendant(s)
                and file notice of service with the Clerk of Court. Unless the Court orders otherwise,
                on 12/7/2022, the Clerk of Court shall terminate without further notice any Defendant
                in this action that has not been served pursuant to Rule 4(m) of the Federal Rules of
                Civil Procedure. See the attached order for additional information. Signed by Judge
                Steven P. Logan on 9/8/2022. (RMW) (Entered: 09/08/2022)
09/13/2022       Remark: Pro hac vice motion(s) granted for Steven L Woodrow, Patrick H Peluso,
                 Taylor True Smith on behalf of Plaintiff Justin Downing. This is a TEXT ENTRY
                 ONLY. There is no PDF document associated with this entry. (BAS) (Entered:
                 09/13/2022)
09/28/2022    7 MOTION for Extension of Time to File Answer re: 1 Complaint Agreed Stipulation by
                Lowe's Companies Incorporated. (Attachments: # 1 Proposed Order GRANTING
                STIPULATION FOR EXTENSION FOR DEFENDANTS TO ANSWER OR
                OTHERWISE RESPOND TO THE COMPLAINT)(Crowson, Walker) (Entered:
                09/28/2022)
09/29/2022    8 STIPULATION FOR EXTENSION OF TIME TO ANSWER COMPLAINT re: 1
                Complaint by First Advantage Corporation. (Attachments: # 1 Proposed
                Order)(Karvis, Mandi) (Entered: 09/29/2022)
10/03/2022    9 ORDER granting 7 and 8 Stipulations For Extension of Time To Answer Complaint :
                First Advantage Corporation answer due 10/28/2022; Lowe's Companies Incorporated
                answer due 10/28/2022. Signed by Judge Steven P Logan on 9/30/22. (MJW)
                (Entered: 10/03/2022)
10/04/2022       Remark: Pro hac vice motion(s) granted for Henry Chalmers on behalf of Defendant
                 First Advantage Corporation. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 10/04/2022)
10/05/2022       Remark: Pro hac vice motion(s) granted for Edward P Cadagin on behalf of Defendant
                 First Advantage Corporation. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 10/05/2022)
10/27/2022   10 NOTICE of Filing Amended Pleading pursuant to LRCiv 15.1(b) by Justin Downing .
                (Attachments: # 1 Exhibit A − Proposed First Amended Class Action
                Complaint)(Smith, Taylor) (Entered: 10/27/2022)



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10/27/2022   11 AMENDED COMPLAINT First Amended Class Action Complaint against First
                Advantage Corporation, Lowe's Home Centers LLC filed by Justin Downing.(Smith,
                Taylor) (Entered: 10/27/2022)
10/31/2022   12 NOTICE OF ATTORNEY'S CHANGE OF ADDRESS/FIRM NAME by Walker
                Field Crowson. (Crowson, Walker) (Entered: 10/31/2022)
11/03/2022   13 Additional Attachments to Main Document re: 11 Amended Complaint Exhibits A & B
                to First Amended Complaint by Plaintiff Justin Downing. (Smith, Taylor) (Entered:
                11/03/2022)
11/08/2022       Remark: Pro hac vice motion(s) granted for Jason Schwartz on behalf of Defendant
                 Lowe's Home Centers LLC. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 11/08/2022)
11/08/2022       Remark: Pro hac vice motion(s) granted for David A Schnitzer on behalf of Defendant
                 Lowe's Home Centers LLC. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 11/08/2022)
11/08/2022       Remark: Pro hac vice motion(s) granted for Molly Senger on behalf of Defendant
                 Lowe's Home Centers LLC. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 11/08/2022)
11/09/2022       Remark: Pro hac vice motion(s) granted for Matthew Gregory on behalf of Defendant
                 Lowe's Home Centers LLC. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 11/09/2022)
11/10/2022   14 MOTION to Dismiss for Failure to State a Claim by Lowe's Companies Incorporated,
                Lowe's Home Centers LLC. (Schwartz, Jason) (Entered: 11/10/2022)
11/10/2022   15 MOTION to Dismiss Counts/Claims : Count III and Count IV of Plaintiff's First
                Amended Complaint by First Advantage Corporation. (Karvis, Mandi) (Entered:
                11/10/2022)
11/10/2022   16 NOTICE re: Certification of Good Faith Conferral by First Advantage Corporation re:
                15 MOTION to Dismiss Counts/Claims : Count III and Count IV of Plaintiff's First
                Amended Complaint . (Karvis, Mandi) (Entered: 11/10/2022)
11/10/2022   17 Corporate Disclosure Statement by First Advantage Corporation. (Karvis, Mandi)
                (Entered: 11/10/2022)
11/10/2022   18 AMENDED MOTION to Dismiss for Failure to State a Claim [Corrected PDF
                Conversion Error] by Lowe's Companies Incorporated, Lowe's Home Centers LLC.
                (Schwartz, Jason) (Entered: 11/10/2022)
11/10/2022   19 Corporate Disclosure Statement by Lowe's Home Centers LLC identifying Corporate
                Parent Lowe's Companies, Inc. for Lowe's Home Centers LLC. (Schwartz, Jason)
                (Entered: 11/10/2022)
11/18/2022   20 STIPULATION re: 15 MOTION to Dismiss Counts/Claims : Count III and Count IV
                of Plaintiff's First Amended Complaint , 18 MOTION to Dismiss for Failure to State a
                Claim [Corrected PDF Conversion Error] Stipulation to Extension of Time for
                Briefing of Defendants' Motions to Dismiss by Justin Downing. (Attachments: # 1
                Proposed Order)(Peluso, Patrick) (Entered: 11/18/2022)
11/23/2022   21 ORDER granting 20 Stipulation. FURTHER ORDERED that Plaintiff shall have until
                12/9/2022, to file a Response to the Motions to Dismiss, and Defendants shall have
                until 12/23/2022, to file their respective replies in support of their Motions to Dismiss.
                Signed by Judge Steven P. Logan on 11/22/2022. (RMW) (Entered: 11/23/2022)
12/09/2022   22 RESPONSE in Opposition re: 15 MOTION to Dismiss Counts/Claims : Count III and
                Count IV of Plaintiff's First Amended Complaint Plaintiff's Response in Opposition to
                Defendant First Advantage Corporation's Motion to Dismiss and/or to Strike
                Plaintiff's Class Claims filed by Justin Downing. (Smith, Taylor) (Entered:
                12/09/2022)
12/09/2022   23 RESPONSE in Opposition re: 18 MOTION to Dismiss for Failure to State a Claim
                [Corrected PDF Conversion Error] Response in Opposition to Defendant Lowe's
                Home Centers, LLC's Motion to Dismiss Counts I and II filed by Justin Downing.

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                 (Attachments: # 1 Exhibit A − Disclosure)(Peluso, Patrick) (Entered: 12/09/2022)
12/23/2022   24 REPLY to Response to Motion re: 18 MOTION to Dismiss for Failure to State a
                Claim [Corrected PDF Conversion Error] filed by Lowe's Companies Incorporated,
                Lowe's Home Centers LLC. (Schwartz, Jason) (Entered: 12/23/2022)
12/23/2022   25 REPLY to Response to Motion re: 15 MOTION to Dismiss Counts/Claims : Count III
                and Count IV of Plaintiff's First Amended Complaint filed by First Advantage
                Corporation. (Karvis, Mandi) (Entered: 12/23/2022)
12/30/2022   26 NOTICE re: Supplemental Authority by Lowe's Companies Incorporated, Lowe's
                Home Centers LLC re: 18 MOTION to Dismiss for Failure to State a Claim
                [Corrected PDF Conversion Error] . (Schwartz, Jason) (Entered: 12/30/2022)
03/10/2023   27 NOTICE re: Supplemental Authority by Lowe's Companies Incorporated, Lowe's
                Home Centers LLC re: 18 MOTION to Dismiss for Failure to State a Claim
                [Corrected PDF Conversion Error] . (Schwartz, Jason) (Entered: 03/10/2023)
06/08/2023   28 ORDER denying 15 Motion to Dismiss Counts/Claims. Signed by Judge Steven P
                Logan on 6/8/23. (MJW) (Entered: 06/08/2023)
06/20/2023   29 ORDER that Defendant's Motion to Dismiss (Doc. 18 ) is granted. Counts I and II are
                dismissed with prejudice, and Defendant Lowes Home Centers LLC is dismissed from
                this action. See document for complete details. Signed by Judge Steven P Logan on
                6/20/2023. (WLP) (Entered: 06/20/2023)
06/22/2023   30 Defendant First Advantage Corporation's ANSWER to 11 Amended Complaint by
                First Advantage Corporation.(Karvis, Mandi) (Entered: 06/22/2023)
06/30/2023   31 MOTION for Entry of Judgment under Rule 54(b) by Justin Downing. (Attachments: #
                1 Proposed Order)(Peluso, Patrick) (Entered: 06/30/2023)
07/14/2023   32 RESPONSE in Opposition re: 31 MOTION for Entry of Judgment under Rule 54(b)
                filed by Lowe's Home Centers LLC. (Schwartz, Jason) (Entered: 07/14/2023)
07/21/2023   33 REPLY to Response to Motion re: 31 MOTION for Entry of Judgment under Rule
                54(b) filed by Justin Downing. (Peluso, Patrick) (Entered: 07/21/2023)
07/27/2023       Remark: Pro hac vice motion(s) granted for Natalie Cascario on behalf of Defendant
                 First Advantage Corporation. This is a TEXT ENTRY ONLY. There is no PDF
                 document associated with this entry. (BAS) (Entered: 07/27/2023)
07/28/2023   34 NOTICE of Service of Discovery filed by Justin Downing. (Smith, Taylor) (Entered:
                07/28/2023)
07/31/2023   35 ORDER: Plaintiff's Motion for Certification of Judgment (Doc. 31 ) is granted. The
                Clerk of Court is directed to enter a final judgment dismissing with prejudice all
                claims against Defendant Lowe's Companies Incorporated pursuant to Federal Rule of
                Civil Procedure 54(b). Signed by Judge Steven P Logan on 7/31/2023. (REK)
                (Entered: 07/31/2023)
07/31/2023   36 *Amended by 38 * CLERK'S JUDGMENT − Pursuant to the Court's order filed July
                31, 2023, Plaintiff to take nothing, and the complaint and action are dismissed with
                prejudice. (REK) Modified on 8/2/2023 (REK). (Entered: 07/31/2023)
08/01/2023   37 NOTICE of Service of Discovery filed by First Advantage Corporation. (Chalmers,
                Henry) (Entered: 08/01/2023)
08/02/2023   38 AMENDED CLERK'S JUDGMENT − Pursuant to the Court's order filed July 31,
                2023, Plaintiff to take nothing, and the complaint and action are dismissed with
                prejudice as to all claims against Defendant Lowes Companies Incorporated. (REK)
                (Entered: 08/02/2023)
08/02/2023   39 REPORT of Rule 26(f) Planning Meeting by Justin Downing. (Smith, Taylor)
                (Entered: 08/02/2023)
08/03/2023   40 ORDER SETTING RULE 16 CASE MANAGEMENT CONFERENCE: A Case
                Management Conference is set for 9/6/2023 at 02:00 PM in Courtroom 501, 401 West
                Washington Street, Phoenix, AZ 85003 before Judge Steven P Logan. Signed by Judge


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                 Steven P Logan on 8/2/23. (Attachments: # 1 Attachment − Case Management
                 Order)(MJW) (Entered: 08/03/2023)
08/04/2023   41 ORDER: IT IS ORDERED that the Rule 16 Case Management Conference, presently
                set for September 6, 2023 before Honorable Steven P. Logan, is vacated. Order to
                follow. Signed by Judge Steven P Logan on 8/4/23. (MJW) (Entered: 08/04/2023)
08/04/2023   42 RULE 16 CASE MANAGEMENT ORDER: Discovery due by 5/24/2024. Dispositive
                motions due by 9/20/2024. Signed by Judge Steven P Logan on 8/4/23. (MJW)
                (Entered: 08/04/2023)
08/14/2023   43 NOTICE OF APPEAL to 9th Circuit Court of Appeals re: 29 Order, 35 Order, 38
                Amended Clerks Judgment by Justin Downing. Filing fee received: $505.00, receipt
                number AAZDC−22203043. (Smith, Taylor) *Modified linkage on 8/15/2023 (DXD).
                (Entered: 08/14/2023)
08/16/2023   44 USCA Case Number re: 43 Notice of Appeal. Case number 23−16102, Ninth Circuit.
                (BAC) (Entered: 08/17/2023)
08/31/2023   45 NOTICE of Filing Amended Pleading pursuant to LRCiv 15.1(b) by Justin Downing .
                (Attachments: # 1 Exhibit A − Proposed Second Amended Class Action
                Complaint)(Smith, Taylor) (Entered: 08/31/2023)
08/31/2023   46 AMENDED COMPLAINT Second Amended Class Action Complaint against Lowe's
                Home Centers LLC, First Advantage Background Services Corp. filed by Justin
                Downing. (Attachments: # 1 Exhibit A − Disclosure, # 2 Exhibit B − Order)(Smith,
                Taylor) (Entered: 08/31/2023)
09/05/2023   47 NOTICE of Service of Discovery filed by Justin Downing. (Smith, Taylor) (Entered:
                09/05/2023)
09/07/2023   48 Defendant First Advantage Background Services Corp.'s ANSWER to 46 Amended
                Complaint, by First Advantage Background Services Corporation.(Karvis, Mandi)
                (Entered: 09/07/2023)
09/15/2023   49 NOTICE of Service of Discovery filed by Justin Downing. (Smith, Taylor) (Entered:
                09/15/2023)
10/09/2023   50 STIPULATION for Protective Order by Justin Downing. (Attachments: # 1 Proposed
                Order)(Smith, Taylor) (Entered: 10/09/2023)
10/18/2023   51 ORDER denying 50 Stipulation for Protective Order. Signed by Judge Steven P Logan
                on 10/17/23. (MJW) (Entered: 10/18/2023)




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